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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA


    ROBYN WILSON, TAMERA                                 Case No:
    STREETER, DANA OLIVER, KRISTEN
    JONES, NATALIA LOGINOVA, JOSH
    BERGER, and NICK LAURITZEN, on
    behalf of themselves and all others                  CLASS ACTION COMPLAINT
    similarly situated,
                                                         JURY TRIAL DEMANDED
                   Plaintiff,
              v.

    BOOZ ALLEN HAMILTON, INC. and DOES
    1-20,

                   Defendants.


                                           INTRODUCTION

         1.        This case is about holding Booz Allen 1—a multibillion dollar for profit federal

contractor—responsible for forcing American consumers to pay Ticketmaster-style Junk Fees 2 to

access National Parks and other federal recreational lands.

         2.        Specifically, Plaintiffs,3 on behalf of themselves and all others similarly situated,

seek to recover hundreds of millions of dollars in illegal Junk Fees that have been charged by Booz




1
    Booz Allen Hamilton, Inc. (“Booz Allen”) and Does 1-20 (collectively, “Defendants”).
2
  “Junk Fees,” as used in this Complaint, refer to fees that are charged through recreation.gov and
the recreation.gov App and paid to Booz Allen, including, but not limited to, “park access
reservation fees,” “processing fees,” “reservation fees,” “permit fees,” “lottery fees,” and
“cancellation fees.” “Junk Fees” does not include any amounts that are ultimately retained by the
Federal Agencies instead of Booz Allen, which are generally referred to as “use fees” in this
Complaint.
3
 Robyn Wilson, Tamera Streeter, Dana Oliver, Kirsten Jones, Natalia Loginova, Josh Berger, and
Nick Lauritzen (collectively, “Plaintiffs”). At certain times relevant to this action, Dana Oliver
was also known by her maiden name, Dana Walden.
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Allen on recreation.gov since 2018 and to prevent Booz Allen from charging these Junk Fees in

the future.

        3.     From 2002 until 2018, recreation.gov was run by the United States government,

and efficiently facilitated millions of reservations to National Parks and other federal lands.

        4.     Despite this success, under the pretext of “improving” recreation.gov, Booz Allen

was awarded an exclusive government contract to “reinvent” the website.

        5.     Beginning in October 2018, Booz Allen took over the operation of recreation.gov,

and immediately began running the website for its own benefit, charging consumers Junk Fees in

the form of “processing fees,” “reservation fees,” “lottery fees,” “cancellation fees,” and other

bogus fees designed to line its own pockets.

        6.     While recreation.gov has a “dot gov” domain, public records make clear that the

Federal Agencies4 have “no involvement in deciding the amount of processing fee charged per

reservation” and “[n]o part of the processing fee is remitted to [the Federal Agencies].” Kotab v.

Bureau of Land Mgmt., 595 F. Supp. 3d 947, 951 (D. Nev. Mar. 31, 2022), attached as Exhibit A.

        7.     In other words, Booz Allen gets to decide the amount that it charges in Junk Fees,

and Booz Allen also gets to keep all of the associated Junk Fee revenue for itself.

        8.     Unsurprisingly, Booz Allen has elected to abuse that discretion and charge

excessively high Junk Fees, generally in the $2 to $10 range per transaction, that are in no way




4
  “Federal Agencies” refers to the 13 federal agencies that use recreation.gov for reservation
services for consumer access to their lands, namely: the Bureau of Land Management, Bureau of
Reclamation, Bureau of Engraving and Printing, Federal Highway Administration, National
Archives & Records Administration, National Oceanic & Atmospheric Administration, National
Park Service, Presidio Trust, Smithsonian Institution, Tennessee Valley Authority, Fish and
Wildlife Service, US Army Corps of Engineers and US Forest Service. See Ex. E
(https://www.recreation.gov/about-us).



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proportional to the costs of operating recreation.gov or to the value of the services provided. 5

       9.      Given that recreation.gov handles millions of transactions per year—including

approximately 9 million transactions in 2021 alone—these Junk Fees generate tens, if not

hundreds, of millions of dollars of revenue every year for Booz Allen, constituting a complete

windfall.

       10.     The Junk Fees are charged at over 4,200 locations across the country, including at

the “crown jewels” of the National Park system, such as Yosemite, Yellowstone, and the Grand

Canyon.

       11.     To illustrate how quickly these Junk Fees can add up, consider the following

example from a recent article discussing Booz Allen’s problematic practices:

               [I]n just one lottery to hike Mount Whitney, more than 16,000
               people applied, and only a third got in.

               Yet everyone paid the $6 registration fee, which means the gross
               income for that single location [and single lottery] is over $100,000.

               [Recreation.gov has given] a Ticketmaster-like firm control of our
               national parks.

See Ex. B (“Why Is Booz Allen Renting Us Back Our Own National Parks?”) (paragraph breaks

added), available online at https://mattstoller.substack.com/p/why-is-booz-allen-renting-us-back.

       12.     Further, the Junk Fees take money away from the National Park system and other

protected federal lands, which are generally in need of additional funding and revenue.




5
 In some instances, a “use fee” is also charged, but on information and belief, those use fees are
generally paid to the Federal Agencies charged with administering federal lands (e.g., the National
Park Service). This lawsuit does not challenge the ability of the Federal Agencies to charge and
keep lawful use fees. It only challenges the Junk Fees paid to Booz Allen.



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       13.     The payment of Junk Fees to Booz Allen is not disclosed to consumers at the time

of account creation, is not disclosed during the reservation “purchase” process, and is not disclosed

anywhere on recreation.gov.

       14.     In fact, when “Booz Allen” is searched on recreation.gov, the website simply

confirms that no matching results are found:




       15.     This is because Booz Allen intentionally operates recreation.gov to create the false

impression that it is run by the Federal Agencies, and not Booz Allen.

       16.     As a result, the interface falsely leads consumers to believe that they are paying the

Junk Fees to the Federal Agencies that administer those lands, and not Booz Allen.

       17.     Critically, in March of 2022, the District of Nevada found that park access

reservation fees—a type of Junk Fee—paid to Booz Allen through recreation.gov violate federal

law. See Kotab, 595 F. Supp. 3d 947. A copy of that decision is attached as Exhibit A.

       18.     The reasoning of the Kotab decision applies broadly to all Junk Fees that Booz

Allen charges on recreation.gov for thousands of other locations and to millions of unsuspecting

consumers and confirms that Booz Allen charges these Junk Fees in violation of federal law.




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       19.     Further, the park access Junk Fees charged by Booz Allen also deprive active-duty

military and their dependents, veterans, Gold Star Families, and the disabled of free National Park

access, which they are entitled to under federal law.

       20.     Specifically, these groups are entitled to receive the America the Beautiful National

Parks and Federal Recreational Lands Pass “without charge” and at “no cost,” and the pass

“cover[s] the entrance fee and standard amenity recreation fee for all Federal recreational lands

and waters . . . .” 16 U.S.C. § 6804(a), (b)(2)-(3) (emphasis added). 6

       21.     Despite this, Booz Allen still charges Junk Fees for reservations that would have

otherwise been free with the National Parks and Federal Recreational Lands Pass, claiming that

the “[p]ass discounts only apply to the recreation use fee [and that] reservation[s] or other fees are

not eligible for a discount.” Ex. G (https://www.recreation.gov/rules-reservation-policies).

       22.     As further detailed below, Booz Allen needs to be held accountable for its actions.

The Junk Fees paid to Booz Allen should be refunded. And the unlawful Junk Fee practices

stopped.

                                         JURISDICTION

       23.     This Court has jurisdiction pursuant to the Class Action Fairness Act, 28 U.S.C. §

1332(d), because there exists minimal diversity between class members and Defendants and

because the amount in controversy exceeds $5,000,000, exclusive of interest and costs.

                                              VENUE

       24.     This Court is the proper venue for this matter pursuant to 28 U.S.C. § 1391(b) and

(c) because a substantial part of the events or omissions giving rise to the claims occurred in this


6
  The current statutory language was passed in December 2021 to add veterans and active duty
military and their dependents. Pub. L. 117-81, Div. A, Title VI, § 641, Dec. 27, 2021, 135 Stat.
1776. Gold Star Families and the disabled were already eligible to receive these benefits under
the prior version of the statute.


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District, and Booz Allen has substantial and systematic contacts in the District as alleged within

this Complaint, including because its principal place of business and headquarters are located

within the District.

       25.     The case has been properly assigned to the Alexandria Division of this District

under Local Rule 3(B)(1) because a substantial part of the events or omissions that gave rise to

Plaintiffs’ claims occurred in Fairfax County, as alleged within this Complaint, including because

Booz Allen’s principal place of business and headquarters are located within the Division.

                                             PARTIES

       A.      Plaintiffs.

               1.      Robyn Wilson.

       26.     Plaintiff Robyn Wilson has been charged Junk Fees on recreation.gov by

Defendants, and at all times relevant to this action has been a citizen of the State of Washington.

               2.      Tamera Streeter.

       27.     Plaintiff Tamera Streeter has been charged Junk Fees on recreation.gov by

Defendants, and at all times relevant to this action has been a citizen of California. Mrs. Streeter

served in the United States Coast Guard from 1980 to 2006, achieved the rank of Chief Warrant

Officer (CWO-3), and was honorably discharged in 2006. Mrs. Streeter is also 70% disabled.

               3.      Dana Oliver.

       28.     Plaintiff Dana Oliver has been charged Junk Fees on recreation.gov by Defendants,

and at all times relevant to this action has been a citizen of California. At certain times relevant to

this action, Dana Oliver was also known by her maiden name, Dana Walden.

               4.      Kristen Jones.

       29.     Plaintiff Kristen Jones has been charged Junk Fees on recreation.gov by

Defendants, and at all times relevant to this action has been a citizen of California.


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               5.      Natalia Loginova.

       30.     Plaintiff Natalia Loginova has been charged Junk Fees on recreation.gov by

Defendants, and at all times relevant to this action has been a citizen of Florida.

               6.      Josh Berger.

       31.     Plaintiff Josh Berger has been charged Junk Fees on recreation.gov by Defendants,

and at all times relevant to this action has been a citizen of New York.

               7.      Nick Lauritzen.

       32.     Plaintiff Nick Lauritzen has been charged Junk Fees on recreation.gov by

Defendants, and at all times relevant to this action has been a citizen of Utah.

       B.      Defendants.

       33.     Defendant Booz Allen is a Delaware corporation in the business of, among other

things, operating recreation.gov. Booz Allen’s headquarters and principal place of business are

located in McLean, Virginia, and Booz Allen conducts business throughout the United States. 7

       34.     On information and belief, Does 1-20 are individuals and/or entities who operate

recreation.gov and/or the recreation.gov App with Booz Allen whose identities are not presently

known to Plaintiffs.

       35.     Plaintiffs expressly reserve their right to amend this complaint to add the Doe

defendants, once their identities are known.




7
 For example, according to its corporate website, Booz Allen has offices in Alabama, California,
Colorado, D.C., Florida, Georgia, Hawaii, Illinois, Kansas, Maryland, Massachusetts, Michigan,
Missouri, Nebraska, New Jersey, New Mexico, New York, North Carolina, Ohio, Oklahoma,
Pennsylvania, Rhode Island, South Carolina, Texas, Utah, Virginia, Washington, and West
Virginia. https://www.boozallen.com/menu/office-locations.html.



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                                  FACTUAL BACKGROUND

       A.      Recreation.gov Was Created by the Federal Government to Make It Easier
               for Americans to Access Federal Lands, Such as National Parks.

       36.     Since the mid-nineteenth century, Americans have enjoyed access to National

Parks and other federal lands for hiking, camping, and other outdoor activities.

       37.     As demand for access to these lands increased in the past several decades, in order

to preserve the outdoor experience and protect sensitive habitats from overuse, many popular

federal lands, such as Yosemite and Mt. Whitney, introduced permits, reservations, lotteries, and

other similar systems to assist in managing the federal lands (collectively, “Reservations”).

       38.     Traditionally those Reservations were made directly with the department or agency

charged with administering a specific park or other protected federal land by phone, fax, mail, or

in person.

       39.     As internet use became more widespread, in 2002, recreation.gov was created by

the United States government to help centralize and streamline the Reservations process across the

Federal Agencies.

       40.     The rollout of recreation.gov was generally viewed as a success, with millions of

users and significant year over year growth.

       41.     As the Department of the Interior explained in a prepared statement to the House

of Representatives in 2016:

               [M]illions of visitors use Recreation.gov to plan, reserve, and share
               their federal land recreational experiences in national parks, national
               forests, national wildlife refuges, and national waterways.

               In 2015, there were more than 22.3 million sessions, 12 million
               visitors, and 220 million page views to Recreation.gov, which
               represents a 31 percent increase in visitation over 2014.




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               [As of 2016], Recreation.gov hosts more than 3,200 individual
               facilities, with more than 90,000 campsites, 12 ticketed tours or
               events, and 26 high-demand locations accessed by permit or lottery.

Ex. C (https://www.doi.gov/ocl/recreationgov#:~:text=R1S%20was%20created%20as%20one,

and%20the%20National%20Park%20Service).

       42.     Those same Reservations on recreation.gov also had the benefit of driving revenue

to the Federal Agencies to assist in administering federal lands, with an average of approximately

“$90.5 million annual return for these agencies in recreation fees collected through Recreation.gov

. . . . These fees [were] used to provide visitor services and improve the visitor experience at

recreation sites.” Id. (emphasis added).

       43.     In other words, like the “park use fees” or “camp ground use fees” that many

consumers are accustomed to paying when they visit a National Park, the fees paid on

recreation.gov originally went to support the Federal Agencies administering those lands.

       44.     Further, in many circumstances, Reservations made through recreation.gov simply

were free.

       B.      In October 2018, Booz Allen Took Over Recreation.gov, and Started
               Pocketing the Fees Generated through the Website.

               1.     In 2018, Booz Allen “Reinvented” Recreation.gov.

       45.     According to Booz Allen’s corporate website, Booz Allen took over operation of

recreation.gov in October 2018.            Ex. D (https://www.boozallen.com/s/insight/thought-

leadership/reinventing-the-recreation-gov-customer-experience.html).

       46.     Booz Allen proceeded to “reinvent Recreation.gov, building it from the ground up

with modern e-commerce solutions for a transformed digital customer experience (CX). . . The

result is a one-stop shop for trip information, planning, and reservations from coast to coast—and




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demonstrates the potential of a new acquisition model that is revolutionizing the way the federal

government partners with industry to serve the public.” Id.

       47.     On information and belief, in “reinventing” recreation.gov, Booz Allen operated

with broad discretion and autonomy independent from the Federal Agencies to make decisions

about what content, information, and disclosures to include (or not include) on recreation.gov.

       48.     Booz Allen also had exclusive authority to determine the amount of fees to charge

recreation.gov users, with the Federal Agencies having “no involvement in deciding the amount

of processing fee charged per reservation.” Kotab, 595 F. Supp. 3d 947, 951.

               2.     The Updated Interface Created by Booz Allen Falsely Leads
                      Consumers to Believe that the Junk Fees Are Paid to Federal Agencies
                      When the Junk Fees Are Instead Pocketed by Booz Allen.

       49.     While Booz Allen predominantly features its “reinvention” and operation of

recreation.gov on its own corporate website, recreation.gov itself is operated by Booz Allen to

deceptively create the appearance that it is run by the Federal Agencies, and not Booz Allen.

       50.     For example, the “About Us” page on recreation.gov describes the website as a

“one-stop shop - a place with all the tools, services and information you’ll need to dream up your

next adventure, plan the details, experience it all first-hand and then share those stories. With

roughly 4,200 facilities and activities and over 113,000 individual reservable sites across the

country, we’re confident that you'll not only find what you need, but more importantly create

lasting memories and bring home a story.” Ex. E (https://www.recreation.gov/about-us).

       51.     In fact, the “About Us” page, even explicitly states that: “Reservations, venue

details and descriptions on Recreation.gov are brought to you by our 13 Federal Participating

Partners . . . .” Id. (emphasis added). The “About Us” page goes on to identify the 13 specific

Federal Agencies, and includes the official insignias of each of those federal agencies. Id.




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       52.     Here are several examples of how those insignias are displayed:




       53.     Despite the prominent featuring on these (and other) Federal Agency insignias and

descriptions, Booz Allen is not mentioned once on the “About Us” page, and consumers are falsely

led to believe that the “us” in “About Us,” is the Federal Agencies.



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       54.     Booz Allen is not mentioned on the recreation.gov home page, but the Federal

Agencies are specifically identified by their official government insignias. Ex. F

(https://www.recreation.gov/).

       55.     Booz Allen is not mentioned under the recreation.gov terms of service, but the

Federal Agencies are specifically identified by their official government insignias.         Ex. G

(https://www.recreation.gov/rules-reservation-policies).

       56.     Booz Allen is not mentioned on the recreation.gov Privacy Policy, but the Privacy

Policy falsely claims that recreation.gov “is operated by the U.S. Department of Agriculture, Forest

Service, and other R1S participating agencies from the United States.”                      Ex. H

(https://www.recreation.gov/privacy-policy).      Further, the Federal Agencies are specifically

identified by their official government insignias. Id.

       57.     Booz Allen is not mentioned during the process of making a Reservation, but the

Federal Agencies are specifically identified by their official government insignias.

       58.     Booz Allen is also not mentioned during the lottery application process, but the

Federal Agencies are specifically identified by their official government insignias. See, e.g., Ex.

I (https://www.recreation.gov/lottery/how-they-work).

       59.     In fact, when “Booz Allen” or “Booz Allen Hamilton” is typed in to the

recreation.gov search menu, it reflects “[n]o matching results found”:




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       60.     Put simply, when Booz Allen “reinvented” recreation.gov, it made sure to create

the appearance that the website continued to be run by the Federal Agencies, and not by a for profit

government contractor.8

               3.      Booz Allen Generally Charges Consumers Junk Fees of Between $2 and
                       $10 to Make Reservations on Recreation.gov.

       61.     As part of the website “reinvention,” in or about October 2018, Booz Allen

implemented a “transaction-based fee model”—in other words, a Junk Fees model—to profit from

its operation of recreation.gov, and continues to charge those Junk Fees to this day. Ex. D

(https://www.boozallen.com/s/insight/thought-leadership/reinventing-the-recreation-gov-

customer-experience.html).

       62.     Specifically, Booz Allen charges consumers Junk Fees on recreation.gov that

generally range between $2 and $10 per transaction, for items such as National Park access

reservations, wilderness permits, permit lotteries, campground reservations, and cancellations.

       63.     As the Interagency Program Manager for the National Park Service recently

testified, “[t]he processing fees charged by [Booz Allen] for each transaction are . . . remitted to

the contractor. No part of the processing fee charged by Recreation.gov for the platform provided

is remitted to the [Federal Agencies].” Ex. J (Declaration of Richard B. Delappe) at ¶ 6.




8
 While it does not return in the search results, after a careful and detailed review of recreation.gov,
which consists of over 100,000 unique website URLs, Plaintiffs’ counsel did identify a single
reference to Booz Allen on the website, which states “This website and the information it contains
are provided as a public service by Booz Allen Hamilton under contract to the U.S. Department of
Agriculture, Forest Service, and Recreation One Stop participating agencies.” That disclosure,
which is not readily accessible to consumers who setup accounts or make transactions on
recreation.gov, itself is deceptive. Booz Allen does not operate recreation.gov as a “public
service,” rather it operates the website for its own financial gain.



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        64.    These “reservation fees” or “processing fees” are separate and apart from the “use

fees” that are paid to the Federal Agencies that actually go to maintaining the National Parks and

other federal lands.

        65.    Booz Allen does not disclose anywhere on recreation.gov that the Junk Fees are

paid to it.

        66.    Here is an example of a $6 Junk Fee being charged on a wilderness permit:




        67.    Specifically, this receipt reflects a “Reservation Fee” of $6, which is the Junk Fee

that is paid to Booz Allen. On information and belief, the $16 “use fee” reflected on this receipt

is not paid to Booz Allen, and is instead paid to the relevant Federal Agency. This lawsuit does

not challenge lawful “use fees” paid to the Federal Agencies.

        68.    The interface displaying the “Junk Fees” on a particular transaction often does not

appear to consumers until the end of the transaction process, after consumers have already invested

substantial time and effort identifying the desired locations and reservations, selecting specific

dates, and otherwise completing their recreation.gov transactions.




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        69.     Consumers in many instances are also pressured to quickly finish making their

transactions, with a bright red “countdown timer” appearing in the upper right corner during the

reservation process:




        70.     Among other things, the countdown timer creates a sense of urgency and gives

consumers inadequate time to evaluate or investigate the addition of Junk Fees to the transactions

for fear of losing their reservation.

        71.     Further, in some instances a popup window also appears warning consumers that

their “cart is about expire” and that “[o]nce time is up, all items will be removed from your cart,”

compounding the sense of urgency:




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       C.      The Federal Lands Recreation Enhancement Act Authorizes Federal Agencies
               to Charge Recreation Fees in Certain Circumstances, But Booz Allen’s Junk
               Fees Are Not Authorized.

       72.     Recreation fees on federal land are governed by the Federal Lands Recreation

Enhancement Act, 16 U.S.C. §§ 6801, et seq.(“FLREA”), which was passed by Congress to

dramatically reduce the circumstances in which recreation fees could be charged.

       73.     Specifically:

               The FLREA was enacted in response to public backlash against its
               predecessor, the Recreational Fee Demonstration Program, which
               allowed the [Federal Agencies] to charge and collect admission fees
               “for the use of outdoor recreation sites, facilities, visitor centers,
               equipment, and services.”

               The public opposed those fees as overly broad, complaining that the
               [Federal Agencies] could collect them from people who wanted
               access to “undeveloped land, not services and amenities.” So
               “Congress drafted the [FLREA], an ‘overly prescriptive’ regime
               designed ‘to alleviate concerns of those who no longer trust certain
               federal land management agencies with the recreation[-]fee
               authority.’”

               [T]he FLREA is certainly overly prescriptive—it outlines in detail
               the specific instances in which each type of recreation fee can or
               cannot be charged.

Kotab, 595 F. Supp. 3d at 953-954, attached as Exhibit A.

       74.     Consistent with its “overly proscriptive” mandate, the FLREA only allows four

types of recreation fees to be charged on federal land:

               a. Entrance fees, such as the fees charged to enter National Parks, 16 U.S.C. §

                   6802(e), but not all agencies are authorized to charge this fee category;

               b. Standard amenity recreation fees, such as those charged at day use picnic areas

                   or developed trailheads, 16 U.S.C. § 6802(f);




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               c. Expanded amenity recreation fees, such as at campgrounds or boat launches, 16

                  U.S.C. § 6802(g); and

               d. Special recreation permit recreation fees, such as at all-terrain vehicle (“ATV”)

                  parks, 16 U.S.C. § 6802(h).

       75.     Before any of these recreation fees can be charged, the FLREA also imposes an

arduous and robust set of “checks and balances” to ensure that recreation fees are only charged in

appropriate circumstances.

       76.     Specifically, before a recreation fee can be charged, the FLREA requires:

               a. “[P]rovid[ing] the public with opportunities to participate in the development

                  of or changing of a recreation fee,” 16 U.S.C. § 6803(a).

               b. For a new fee area, publication in the Federal Register and local newspapers,

                  16 U.S.C. § 6803(b).

               c. For a new fee area, establishing guidelines for public input on recreation fees,

                  publishing those guidelines, and providing annual notice to the public about

                  how recreation fee revenue is used, 16 U.S.C. § 6803(c).

               d. Establishing a “Recreation Resource Advisory Committee in each State or

                  region” that has “[b]road and balanced representation” to review proposed fees

                  and any proposed changes to those fees, 16 U.S.C. § 6803(d).

               e. For entrance and amenity fees, posting of the fee amounts at entrance stations

                  and providing notice publication in the region where the fee will be charged, 16

                  U.S.C. § 6803(e).




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       77.     The FLREA further mandates that in setting recreation fees that the Federal

Agencies “shall establish the minimum number of recreation fees and shall avoid the collection of

multiple or layered recreation fees for similar uses, activities, or programs.” 16 U.S.C. § 6801(c).

       78.     On information and belief, none of the Junk “recreation fees” charged by Booz

Allen on recreation.gov have complied with the requirements of the FLREA because, among other

reason: (1) in many instances, the Federal Agencies have failed to comply with the procedural

requirements of 16 U.S.C. § 6803 and cannot authorize a contractor to collect a fee that they

themselves could not collect; (2) regardless of procedural compliance, the Junk Fees constitute

avoidable duplicative fees in violation of 16 U.S.C. § 6801(c); and/or (3) paying the full amount

of the Junk Fees to a third-party is not a “reasonable commission” within the meaning of 16 U.S.C.

§ 6805(a).

       79.     Accordingly, the Junk Fees violate federal law.

       D.      In March 2022, the District of Nevada Found that Park Access Junk Fees
               Charged on Recreation.gov Violated the FLREA.

       80.     Despite Booz Allen’s practices impacting access to thousands of locations

throughout the United States, only a single case has addressed whether Booz Allen’s charging of

Junk Fees on recreation.gov complies with the FLREA, Kotab, 595 F. Supp. 3d 947. Ex. A.

       81.     The Kotab case involved park access reservation fees—a type of Junk Fee—

charged through recreation.gov for access to the Red Rock Canyon National Conservation Area.

       82.     In a carefully reasoned, published opinion, the District of Nevada explicitly found

on a full evidentiary record that the Junk Fees charged by Booz Allen through recreation.gov at

Red Rock violated the FLREA. Id.




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        83.     The District of Nevada found that the Red Rock Junk Fees violated the FLREA for

at least five reasons.

        84.     First, the FLREA only authorizes the Federal Agencies to charge “recreation fees.”

Kotab, 595 F. Supp. 3d at 952.

        85.     Second, “a fee that falls outside of th[e] detailed and proscriptive list of recreation

fees” authorized by the FLREA cannot be charged by the Federal Agencies. Id.

        86.     Third, “fees charged for visitor reservations—even if paid to third parties under a

fee-management agreement—must be incorporated into statutorily authorized recreation fees; they

cannot be assessed as some other category of fee.” Id. at 953. Said differently, the FLREA “does

not authorize an agency to pass off [processing fees to the] public as a separate, non-recreation

fee.” Id.

        87.     Fourth, while a processing commission may be charged in certain specific

circumstances, “any commissions charged for visitor-reservation services [must] be paid from the

revenue collected by those [authorized recreation] fees” and not as a separate fee. Id. at 953-954.

Among other reasons, this is because the FLREA mandates that the Federal Agencies “establish

the minimum number of recreation fees and avoid the collection of multiple or layered recreation

fees for similar uses, activities, or programs.” Id. at 952.

        88.     Finally, the FLREA only permits the charging of recreation fees after certain

specific administrative steps are taken, including requirements related to public notice and review

of the proposed fee by the independent Recreation Resource Advisory Committee. Id. at 956.

        89.     As a result, the District of Nevada entered judgement in “favor of the plaintiff,

declaring under the Administrative Procedure Act that the $2 [reservation] processing fee for the




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Red Rock reservation system is a ‘recreation fee’ . . . [and] was not adopted in compliance with

th[e] [FLREA’s] procedures for adopting new recreation fees.” Id. at 956-957.

       90.     While the decision was initially appealed, the appeal was voluntarily dismissed on

August 3, 2022, leaving the District Court opinion in full force and effect.

       E.      Despite Knowing that Its Practices Are Unlawful, Booz Allen Continues to
               Charge Junk Fees on Recreation.gov.

       91.     The final order and judgment was entered in Kotab in March 2022 and the dismissal

of the appeal occurred in August 2022. Despite this, Booz Allen has not taken any steps to refund

the Junk Fees charged to consumers associated with reservations at Red Rock Canyon. See Ex. B.

       92.     Indeed, not only has Booz Allen failed to refund consumers, Booz Allen has

resumed charging Junk Fees through recreation.gov for access to Red Rock Canyon.

       93.     Here is an example from December 2022 of the $2 Junk Fee continuing to be

charged at Red Rock Canyon:




       94.     Moreover, Booz Allen continues to charge millions of dollars in Junk Fees at other

federal lands throughout the country even though those Junk Fees also violate the FLREA.




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       95.     For example, here is a recent transaction from Mrs. Wilson’s account, which

reflects a $2 reservation Junk Fee in September 2022 for a service that was otherwise free:




       96.     And here is a December 2022 transaction from Mrs. Oliver’s account, reflecting

not only an $8 reservation Junk Fee, but also a $10 cancellation Junk Fee:




       97.     In light of the Kotab decision, there can be no reasonable question that Booz Allen

knowingly and intentionally violates the FLREA each time it charges a Junk Fee through

recreation.gov where the Junk Fee was not adopted in strict compliance the FLREA’s explicit

requirements and where the fee appears as a separate item from the Federal Agency use fees. See



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Kotab, 595 F. Supp. 3d at 953 (The FLREA “does not authorize an agency to pass off that

commission to the public as a separate, non-recreation fee.”).

       F.      Booz Allen Charges at Least Six Types of Unlawful Junk Fees on
               Recreation.gov.

       98.     Booz Allen charges at least six types of unlawful Junk Fees that violate the FLREA:

               a. First, Booz Allen charges unlawful “park access” reservation fees, like those

                    that were specifically challenged in the Kotab case.

               b. Second, Booz Allen charges unlawful “park access” reservation fees to active-

                    duty military, veterans, Gold Star Families, and the disabled, who are entitled

                    to free National Park access under federal law.

               c. Third, Booz Allen charges unlawful “permit” reservation fees on

                    recreation.gov, for items such as wilderness access.

               d. Fourth, Booz Allen runs an illegal “lottery” system on recreation.gov for high

                    demand locations, which violates 18 U.S.C. §§ 1301, et seq. and numerous

                    states’ anti-gambling laws.

               e. Fifth, Booz Allen charges unlawful “booking” fees on items such as

                    campgrounds and other lodging.

               f. Finally, for many “cancellations” on recreation.gov, Booz Allen charges “fees

                    on fees” by charging Junk Fees for the “privilege” of cancelling.

       99.     Each of these types of unlawful Junk Fees are further detailed below.

               1.      Booz Allen Charges Unlawful Junk Fees for Park Access.

       100.    One type of Junk Fee that has been implemented by Booz Allen is a “park access”

reservation, like the one at issue in Kotab.




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        101.   A park access reservation allows a visitor to enter a particular park at a particular

time of day or on a particular date, and is separate and distinct from the “entrance fees” or “gate

fees” that many individuals are accustomed to paying at National Parks.

        102.   On information and belief, such “park access” Junk Fees have been charged at

hundreds of locations throughout the United States to millions of effected consumers, and park

access reservations made through recreation.gov will continue to be required at many locations in

2023.

        103.   No portion of these park access reservation Junk Fees are paid to the Federal

Agencies and are instead kept in full by Booz Allen.

        104.   No disclosures regarding the allocation of fees are made to consumers on

recreation.gov or otherwise by Booz Allen.

               2.     Park Access Reservation Fees Violate the Federal Rights of Active
                      Military, Veterans, and the Disabled, Who Are Supposed to Enjoy Free
                      Access to National Parks.

        105.   These park entrance reservation fees are particularly problematic because active

duty military and their dependents, veterans, Gold Star Families, and the permanently disabled

(collectively “Military, Veterans, and the Disabled”) are supposed to enjoy free access to National

Parks and other federal lands.

        106.   Specifically, these groups are entitled to receive the National Parks and Federal

Recreational Lands Pass “without charge” and at “no cost,” and the pass “cover[s] the entrance

fee and standard amenity recreation fee for all Federal recreational lands and waters . . . .” 16

U.S.C. § 6804 (b)(2)-(3) (emphasis added). 9


9
  The current statutory language was passed in December 2021 to add veterans and active-duty
military and their dependents. Pub.L. 117-81, Div. A, Title VI, § 641, Dec. 27, 2021, 135 Stat.
1776. Gold Star Families and the disabled were already eligible to receive these benefits under
the prior version of the statute.


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         107.   However, despite this, when the Military, Veterans, and the Disabled make park

access reservations through recreation.gov, they can only do so by paying a Junk Fee to Booz

Allen.

         108.   Specifically, on recreation.gov, Booz Allen claims that the National Parks and

Federal Recreational Lands Pass “discounts only apply to the recreation use fee . . . . [R]eservation

or other fees are not eligible for a discount.” Ex. G (https://www.recreation.gov/rules-reservation-

policies).

         109.   Here is an example of a park access reservation Junk Fee charged to Mrs. Streeter,

who is both a veteran and disabled:




         110.   For many parks, access reservations are required, meaning there is no way for

Military, Veterans, and the Disabled to enjoy the free access that they are entitled to under federal

law without paying a Junk Fee to Booz Allen.

         111.   On information and belief, “park entrance” Junk Fees have been charged

throughout the United States to tens of thousands of effected Military, Veterans, and Disabled

consumers.

         112.   No portions of these park access reservation fees are paid to the government and

are instead kept in full by Booz Allen.




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       113.    No disclosures regarding the allocation of fees are made to consumers on

recreation.gov or otherwise by Booz Allen.

               3.      Booz Allen Charges Unlawful Junk Fees on Permits.

       114.    Similarly, Booz Allen charges unlawful Junk Fees on permits, such as backpacking

wilderness permits.

       115.    Here is an example of a permit reservation Junk Fee being charged to Mrs. Wilson:




       116.    On information and belief, “permit” Junk Fees have been charged at hundreds of

locations throughout the United States to tens of thousands, if not millions, of effected consumers.

       117.    No portions of these permit Junk Fees are paid to the government and are instead

kept in full by Booz Allen.

       118.    No disclosures regarding the allocation of fees are made to consumers on

recreation.gov or otherwise by Booz Allen.

               4.      Booz Allen Also Collects Junk Fees on Illegal Lotteries for Certain
                       Types of Reservations, in Violation of Federal Law.

       119.    For certain Reservations that are in high demand, Booz Allen also conducts

“lotteries” to determine which consumers will receive the high demand reservations.




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        120.    As explained on recreation.gov, permit and reservation “lotteries have an

application fee to register for the lottery. The fee is charged to each applicant . . . regardless of if

they are selected for that lottery.” Ex. I (https://www.recreation.gov/lottery/how-they-work).

        121.    The nature of those lottery Junk Fees, however, is misrepresented to consumers.

For example, in a January 11, 2023 promotion related to river rafting lottery applications, Booz

Allen falsely represented to consumers that the “application fee for these lotteries . . . helps the

government cover the cost of building and managing Recreation.gov,” when in fact, on

information and belief, the Junk Fees for these lotteries are actually fully paid to Booz Allen.

        122.    The Junk Fees associated with lotteries are often $6 to $9 per entry.

        123.    On information and belief, “lottery” Junk Fees have been charged at hundreds of

locations throughout the United States to tens of thousands, if not millions, of effected consumers.

        124.    The lottery Junk Fees are non-refundable, even when consumers do not receive a

Reservation in exchange for their entry, and Booz Allen profits from the lottery regardless of which

consumers ultimately “win” the lottery.

        125.    Consumers can often spend hundreds of dollars on lotteries over the course of a

year attempting to secure high demand Reservations, often without any success.

        126.    Here’s a recent description of how such lottery Junk Fees impact consumers:

                Every day, visitors to Vermilion Cliffs National Monument in
                Northern Arizona hike into an area named Coyote Buttes North to
                see one of the “most visually striking geologic sandstone formations
                in the world,” which is known as The Wave. On an ancient layer of
                sandstone, millions of years of water and wind erosion crafted
                3,000-foot cliffs, weird red canyons that look like you are on the
                planet Mars, and giant formations that look like crashing waves
                made of rock. There are old carvings known as ‘petroglyphs’ on cliff
                walls, and even “dinosaur tracks embedded in the sediment.”

                The Wave is unlike anywhere else on Earth. It is also part of a U.S.
                national park, and thus technically, it’s open to anyone. Yet, to



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                preserve its natural beauty, the Bureau of Land Management lets just
                64 people daily visit the area. Snagging one of these slots is an
                accomplishment, a ticket into The Wave is known as “The Hardest
                Permit to Get in the USA” by Outside and Backpacker Magazines.

                To apply requires going to Recreation.gov, the site set up to manage
                national parks, public cultural landmarks, and public lands, and
                paying $9 for a “Lottery Application Fee.” If you win, you get a
                permit, and pay a recreation fee of $7. The success rate for the lottery
                is between 4-10%, and some people spend upwards of $500 before
                securing an actual permit.

                But while the recreation fee of $7 goes to maintaining the park . . .
                the money for the “Lottery Application Fee” . . . goes to the giant
                D.C. consulting firm, Booz Allen and Company.

Ex. B.

         127.   Here is an example of an unsuccessful “the Wave” lottery application from Mrs.

Jones’ recreation.gov account:




         128.   On information and belief, 100% of the “lottery” Junk Fees are paid to Booz Allen,

and create millions of dollars in unlawful revenue each year for Booz Allen.

         129.   In addition to violating the FLREA by charging these lottery Junk Fees, the

operation of the lotteries by Booz Allen also violates federal criminal law.




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        130.    Specifically, 18 U.S.C. §§ 1301, et seq., prohibits the promotion of lotteries in

interstate commerce.

        131.    While an exception exists for government run lotteries, in a 2008 U.S. Department

of Justice Office of Legal Counsel Memorandum, the Department found that “statutory exemption

for lotteries ‘conducted by a State’ requires that the State exercise actual control over all significant

business decisions made by the lottery enterprise and retain all but a de minimis share of the equity

interest in the profits and losses of the business, as well as the rights to the trademarks and other

unique intellectual property or essential assets of the State’s lottery.” Scope of Exemption Under

Federal Lottery Statutes for Lotteries Conducted by a State, Opinions of the Office of Legal

Counsel of the Department of Justice, October 16, 2008.

        132.     The lottery system run by Booz Allen on recreation.gov does not meet this high

standard because, despite “partnering” with the Federal Agencies, Booz Allen exercises significant

discretion in running the recreation.gov lotteries and, on information and belief, keeps all of the

profits from those lotteries for itself.

        133.    Booz Allen’s recreation.gov lotteries therefore violate 18 U.S.C. §§ 1301, et seq.,

and, separate and apart from FLREA, cannot continue.

        134.    Further, the operation of the lotteries by Booz Allen violates numerous states’ anti-

gambling laws, for example, California Penal Code §§ 319 et seq., which bans the operations of

lotteries.

        135.    To be a lottery under California law, there are three elements: “(1) a prize; (2)

distribution by chance; and (3) consideration.” Western Telcon, Inc. v. Cal. State Lottery, 13

Cal.4th 475, 484 (1996); Bell Gardens Bicycle Club v. Dep’t of Justice, 36 Cal. App. 4th 717, 744

(1995) (“As a matter of law there is not ‘any particular method of operation [which is]




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indispensable to the existence of a lottery. Rather, as the decisions of the California courts have

made clear, the particular aspects of any lottery scheme are irrelevant, as long as the elements of a

lottery, i.e., prize, distributed primarily for chance, and consideration are present.”).

       136.     Here, Booz Allen’s operation of the permit and reservation lotteries on

recreation.gov meet each of these requirements. As reflected on the recreation.gov “how does the

lottery work” webpage, Booz Allen: (1) offers a prize—the high demand reservation or permit; (2)

the lottery is conducted by random chance; and (3) fees are charged with each lottery entry. Ex. I

(https://www.recreation.gov/lottery/how-they-work).

       137.     Similar violations exist for other states’ anti-gambling and anti-lottery laws. See,

e.g., Va. Code §§ 18.2-325, et seq.; Fla. Stat. § 849.09; N.Y. Penal Law §§ 225.00, et seq.; Utah

Code §§ 76-10-1101, et seq.; Wash. Rev. Code §§ 9.46.010, et seq.

                5.     Booz Allen Also Charges Unlawful Junk Fees on Campgrounds and
                       Lodging.

       138.     Similarly, Booz Allen charges unlawful Junk Fees on campground and lodging

reservations.

       139.     Here is an example on a $8 reservation Junk Fee for a campsite being charged on

Mrs. Oliver’s recreation.gov account:




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       140.    On information and belief, these campground and lodging Junk Fees have been

charged at thousands of locations throughout the United States to millions of consumers.

       141.    No portions of these campground and lodging Junk Fees are paid to the government

and are instead kept in full by Booz Allen.

       142.    No disclosures regarding the allocation of these fees are made to consumers on

recreation.gov or otherwise by Booz Allen.

               6.     Booz Allen Charges Consumers “Cancellation” Junk Fees that Directly
                      Take Money Away from the Federal Agencies.

       143.    Finally, despite already charging numerous Junk Fees up front, when consumers

need to cancel plans on recreation.gov, they are charged additional “cancellation” Junk Fees.

       144.    Here is an example of a $10 cancellation Junk Fee from Mrs. Oliver’s

recreation.gov account:




       145.    On information and belief, those cancellation Junk Fees are often taken directly

from the “use fee” revenue that would have otherwise been paid to the Federal Agencies.




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       146.    The cancellation Junk Fees do not serve any valid purpose, except to line Booz

Allen’s pockets, because, on information and belief, the amount of the cancellation Junk Fees are

not in any way proportional to the costs that Booz Allen incurs to process a cancellation through

recreation.gov or to the value of those services.

       147.    No portions of these cancellation Junk Fees are paid to the government and are

instead kept in full by Booz Allen.

       148.    No disclosures regarding the allocation of fees are made to consumers on

recreation.gov or otherwise by Booz Allen.

       G.      Booz Allen Deceptively Markets Outdoor “Opportunities” to Consumers in
               Order to Drive Additional Junk Fee Revenue.

       149.    In order to make reservations through recreation.gov, consumers are required to

create recreation.gov accounts, regardless of whether they ever intend to use recreation.gov again.

       150.    Using the contact information provided by consumers during account creation,

Booz Allen engages in deceptive marketing to extract additional Junk Fees from consumers.

       151.    For example, Booz Allen, via recreation.gov, sends consumers emails promoting

various outdoor “opportunities,” which do not disclose that reservation and/or permit Junk Fees

are required to be paid, and certainly do not disclose that the Junk Fees are paid to Booz Allen.

       152.    One recent example involves promotional emails to “cut your own Christmas tree”

that were sent by Booz Allen via recreation.gov in December 2022.

       153.    While the marketing emails indicate that Christmas tree permits can be issued for a

certain specific dollar amount, once a consumer navigates to recreation.gov to purchase the permit,

the consumer is forced to pay additional “processing fees”—i.e., Junk Fees—to Booz Allen that

are not disclosed until the very end of the transaction.




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       154.    Here’s an example of one such marketing email, which reflects that a Christmas

tree permit in Arapaho and Roosevelt National Forests is $20 per tree:




       155.    Yet, here is how the receipt appears at the time of check-out, which reflects the

addition of a $2.50 reservation Junk Fee:




       156.    On information and belief, Booz Allen has sent similar marketing emails to millions

of consumers since October 2018.


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       H.      Recreation.gov’s Privacy Policy Fails to Disclose Booz Allen’s Use of
               Consumer Data, and Fails to Provide Consumers the Opportunity to Opt-Out
               of Data Collection.

       157.    Like most modern websites, recreation.gov has a Privacy Policy.               Ex. H

(https://www.recreation.gov/privacy-policy).

       158.    While the recreation.gov Privacy Policy is quite lengthy, nowhere in the Privacy

Policy is Booz Allen’s identity disclosed.       Indeed, just the opposite. The Privacy Policy

affirmatively claims that recreation.gov is “operated by the U.S. Department of Agriculture, Forest

Service, and other R1S participating agencies from the United States.” Id.

       159.    Consistent with Booz Allen’s operations of recreation.gov generally, the Privacy

Policy and related website interface are designed to create the impression that the Privacy Policy

is between consumers and the Federal Agencies, and not Booz Allen.

       160.    Critically, and among other things, the Privacy Policy uses the term “we” to

describe the website operator, but nowhere in the Privacy Policy or otherwise on recreation.gov is

it disclosed that “we” refers to Booz Allen—a for profit federal contactor—as opposed to the

Federal Agencies that administer the federal lands and whose names and insignias appear

throughout recreation.gov, including on the Privacy Policy webpage.

       161.    As a result, consumers have no way of knowing that their data is being mined and

used by Booz Allen, instead of the Federal Agencies.

       162.    While the Privacy Policy claims that “we do not share or release personal

information, credit card or financial information for use by other organizations,” on information

and belief, Booz Allen itself uses this information, although a reasonable consumer would believe

that Booz Allen is an “other organization.”

       163.    Booz Allen does not provide consumers any option to opt-out of data collection on

recreation.gov, and instead directs them to potential options provided by third parties. See id.


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         I.     The Recreation.gov App Presents the Same Problems as the Website.

         164.   Booz Allen also operates a “recreation.gov App” for mobile devices (the “App”).

         165.   Like the recreation.gov website, the App is operated by Booz Allen to create the

misrepresentation that it is run and operated by the Federal Agencies, and not Booz Allen.

         166.   While the current version of the App does state at the time of download that the

App was “developed” by Booz Allen, the statement says nothing about who operates the App

(Booz Allen), who Junk Fees incurred through the App are paid to (Booz Allen), and that no

portion of those Junk Fees are paid to the Federal Agencies that actually administer the federal

lands.

         167.   The recreation.gov App presents all of the same issues as the recreation.gov

website, as alleged in this complaint, and those website allegations are expressly incorporated here

by reference.

         168.   In short, there are no material differences between the recreation.gov website and

the App.10

         J.     Plaintiff Specific Facts.

                1.     Robyn Wilson.

         169.   Plaintiff Robyn Wilson is an avid camper, backpacker, and amateur landscape

photographer. She has long enjoyed the outdoors, but became especially interested in enjoying

federally administered lands upon moving to Washington State in 2002. She intends to continue

to make similar visits to National Parks and other federal lands in the future.



10
   On information and belief, Booz Allen also provides phone-based reservation services as part of
its operation of the recreation.gov website. Plaintiffs anticipate that discovery will reveal similar
problematic practices with regard to Booz Allen’s operation of those phone systems, but those
details are not presently known to Plaintiffs. Plaintiffs expressly reserve their right to add claims
based on Booz Allen’s phone operations should discovery reveal similar problematic practices.


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       170.   At all relevant times to this litigation, Mrs. Wilson has been a resident of

Washington State.

       171.   Mrs. Wilson created a recreation.gov account on or about February 23, 2015. Mrs.

Wilson was never notified that recreation.gov was operated by Booz Allen and that a portion of

any fees that she may pay on the website would go to Booz Allen instead of the Federal Agencies.

       172.   As relevant to this case, after creating her account, Mrs. Wilson made the following

transactions and incurred the following Junk Fees on recreation.gov:

              a. April 1, 2019, Enchantment Permit Area Snow Zone in Okanogan-Wenatchee

                    National Forest; Mrs. Wilson paid a $100 use fee and a $6 reservation Junk Fee.

              b. May 4, 2019, Olympic National Park Wilderness Permit at Shi Shi Beach; Mrs.

                    Wilson paid a $16 use fee and a $6 reservation Junk Fee.

              c. May 25, 2019, Olympic National Park Wilderness Permit at Bogachiel; Mrs.

                    Wilson paid a $32 use fee and a $6 reservation Junk Fee.

              d. February 15, 2021, Enchantment Permit Area Lottery in Okanogan-Wenatchee

                    National Forest; Mrs. Wilson paid a $6 lottery Junk Fee; Mrs. Wilson was

                    unsuccessful in the lottery and received nothing in exchange for her $6 lottery

                    Junk Fee.

              e. December 5, 2021, Coyote Buttes North (The Wave) Lottery in the Paria

                    Canyon-Vermilion Cliffs Wilderness; Mrs. Wilson paid a $9 lottery Junk Fee;

                    Mrs. Wilson was unsuccessful in the lottery and received nothing in exchange

                    for her $9 lottery Junk Fee.

              f. September 2, 2022, Rocky Mountain National Park Timed Entry Permit; Mrs.

                    Wilson paid a $2 reservation Junk Fee.




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       173.    Despite being physically present at an Olympic National Park ranger station, the

May 4 and May 25, 2019 reservations still required Mrs. Wilson (with the help of National Park

staff) to use recreation.gov and required her to pay the associated Junk Fees.

       174.    Here are several examples of receipts from Mrs. Wilson’s account:




       175.    On information and belief, each of the Junk Fees incurred by Mrs. Wilson on

recreation.gov was paid to Booz Allen.




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       176.    At the time each of these transactions occurred, Mrs. Wilson was led to believe by

the recreation.gov website’s interface that the Junk Fees were being paid to the Federal Agencies,

not Booz Allen.

       177.    Each of the Junk Fees paid by Mrs. Wilson is a “recreation fee” within the meaning

of the FLREA and the Kotab decision, but was not adopted in compliance with that FLREA.

       178.    Accordingly, each of the Junk Fees paid by Mrs. Wilson to Booz Allen violate the

FLREA.

       179.    Further, because the payments to Booz Allen were not disclosed to Mrs. Wilson,

the Junk Fees are unlawful and deceptive in violation of Washington’s consumer protection laws.

       180.    Finally, the “lottery” Junk Fees paid by Mrs. Wilson also violate applicable federal

and state lottery and anti-gambling laws.

       181.    Had Mrs. Wilson known the true nature of Booz Allen’s operation of recreation.gov

and that the Junk Fees were paid to Booz Allen and not the Federal Agencies, Mrs. Wilson would

have instead contacted the relevant Federal Agencies directly to make her reservations to avoid

paying the Junk Fees to Booz Allen.

               2.      Tamera Streeter.

       182.    Plaintiff Tamera Streeter served in the United States Coast Guard from 1980 to

2006, achieved the rank of Chief Warrant Officer (CWO-3), and was honorably discharged in

2006. Mrs. Streeter is also 70% disabled.

       183.    Mrs. Streeter was issued a National Parks and Federal Recreational Lands Access

Pass based on her disabled status.

       184.    The “Access Pass” is the version of the National Parks and Federal Recreational

Lands Pass that is issued to individuals who are disabled pursuant to 16 U.S.C. § 6804(b)(2). The

pass is issued for the lifetime of the pass holder.


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       185.    Since 2020, Mrs. Streeter has resided just outside of Yosemite National Park, where

she frequently spends time.

       186.    In or about 2021, Yosemite National Park implemented a park reservation access

program that required Mrs. Streeter to make reservations through recreation.gov in order to access

the park during certain periods.

       187.    To continue her practice of spending time in Yosemite, Mrs. Streeter created a

recreation.gov account on or about May 2021. During the account creation process, Mrs. Streeter

was never notified that recreation.gov was operated by Booz Allen and that a portion of any fees

that she may pay on the website would go to Booz Allen instead of the Federal Agencies.

       188.    After creating her recreation.gov account, Mrs. Streeter made the following park

access reservations and incurred the following Junk Fees for those reservations:

               a. May 17, 2021, Yosemite National Park Ticketed Entry; Mrs. Streeter paid a $2

                   reservation Junk Fee.

               b. June 7, 2021, two Yosemite National Park Ticketed Entries; Mrs. Streeter paid

                   a $2 reservation Junk Fee.

               c. September 23, 2022, Yosemite National Park Ticketed Entry; Mrs. Streeter paid

                   a $2 reservation Junk Fee.

       189.    In each instance, even though Mrs. Streeter was entitled by federal law to enjoy

free access to Yosemite through her Access Pass, she was charged a $2 Junk Fee by Booz Allen

to make the park access reservation.

       190.    Because of the mandatory reservation system in place at Yosemite, Mrs. Streeter

had no way to access Yosemite on these same dates and times without incurring these fees, in

violation of 16 U.S.C. § 6804(b)(2).




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          191.   Here is an example of a park access reservation receipt on Mrs. Streeter’s

recreation.gov account:




          192.   Importantly, the reservation reflects that while the Yosemite use fee was not

charged to Mrs. Streeter, the $2 reservation Junk Fee was still charged by Booz Allen.

          193.   Each of the Junk Fees paid by Mrs. Streeter is a “recreation fee” within the meaning

of the FLREA and the Kotab decision, but was not adopted in compliance with that FLREA.

          194.   Accordingly, each of the Junk Fees paid by Mrs. Streeter to Booz Allen violate the

FLREA.

          195.   Further, because the payments to Booz Allen were not disclosed to Mrs. Streeter,

the Junk Fees are unlawful and deceptive in violation of California’s consumer protection laws.

          196.   But for the limited reservations for Yosemite access on recreation.gov, Mrs.

Streeter would have visited Yosemite more frequently.

          197.   Mrs. Streeter intends to continue to visit Yosemite and other federal lands in the

future.

          198.   Had Mrs. Streeter known the true nature of Booz Allen’s operation of

recreation.gov and that the Junk Fees were paid to Booz Allen and not the Federal Agencies, Mrs.




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Streeter would have instead contacted the relevant Federal Agencies directly to make her

reservations to avoid paying the Junk Fees to Booz Allen. However, on information and belief,

during the periods at issue, such efforts would have been futile, because park access reservations

for Yosemite were exclusively available through recreation.gov.

                 3.      Dana Oliver.

          199.   Plaintiff Dana Oliver11 is an avid camper and hiker. She enjoys exploring natural

areas with her partner. She intends to continue to make similar visits to National Parks and other

federal lands in the future.

          200.   At all relevant times to this litigation, Mrs. Oliver has been a resident of California.

          201.   Mrs. Oliver created her recreation.gov account in 2016. When Booz Allen took

over recreation.gov in October 2018, Mrs. Oliver was never notified that recreation.gov would be

operated by Booz Allen and that a portion of any of the fees that she may pay on the website going

forward would go to Booz Allen instead of to the Federal Agencies.

          202.   Mrs. Oliver made the following reservations before Booz Allen took over operation

of recreation.gov:

                 a. October 25, 2016, Zion National Park Watchman Campground; a $20 use fee

                      was charged, but no separate reservation Junk Fee was charged.

                 b. October 27, 2016, Zion National Park Watchman Campground; a $40 use fee

                      was charged, but no separate reservation Junk Fee was charged.

                 c. December 21, 2017, Joshua Tree National Park Indian Cove Campground; a

                      $40 use fee was charged, but no separate reservation Junk Fee was charged.




11
     Certain of Mrs. Oliver’s transactions reflect her maiden name, Dana Walden.


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               d. May 17, 2018, Joshua Tree National Park Indian Cove Campground; a $60 use

                   fee was charged, but no separate reservation Junk Fee was charged.

        203.   However, after Booz Allen took over operation of recreation.gov in October 2018,

among other transactions, Mrs. Oliver’s account reflects frequent reservation and cancellation Junk

Fees:

               a. November 8, 2018, Cleveland National Forest Laguna Campground; Mrs.

                   Oliver was charged a $50 use fee and a $8 reservation Junk Fee.

               b. December 21, 2018, Cleveland National Forest Laguna Campground; Mrs.

                   Oliver was charged a $52 use fee and a $8 reservation Junk Fee.

               c. December 19, 2018, Joshua Tree National Park Indian Cove Campground

                   Cancellation; Mrs. Oliver was charged a $10 cancellation Junk Fee.

               d. March 13, 2020, Sequoia National Park and Inyo National Forest Mount

                  Whitney Trail; Mrs. Oliver paid a $6 lottery Junk Fee; Mrs. Oliver was

                  unsuccessful in the lottery and received nothing in exchange for her $6 lottery

                  Junk Fee.

               e. October 7, 2021, Cleveland National Forest Laguna Campground; Mrs. Oliver

                   was charged a $84 use fee and a $8 reservation Junk Fee.

               f. March 2, 2022, Joshua Tree National Park Indian Cove Campground

                   Cancellation; Mrs. Oliver was charged a $10 cancellation Junk Fee.

               g. April 2, 2022, Joshua Tree National Park Cottonwood Group Campground

                   Cancellation; Mrs. Oliver was charged a $10 cancellation Junk Fee.

               h. April 2, 2022, Joshua Tree National Park Indian Cove Group Campground

                   Cancellation; Mrs. Oliver was charged a $10 cancellation Junk Fee and not

                   refunded a $40 use fee.



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                    i. March 2, 2022, Cleveland National Forest Laguna Campground Change and

                       Cancellation; Mrs. Oliver was charged a $10 change Junk Fee and a $10

                       cancellation Junk Fee.

                    j. September 29, 2022, Cleveland National Forest Laguna Campground; Mrs.

                       Oliver was charged a $87 use fee and a $8 reservation Junk Fee.

                    k. September 30, 2022, Cleveland National Forest Laguna Campground; Mrs.

                       Oliver was charged a $58 use fee and a $8 reservation Junk Fee.

                    l. October 2, 2022, Cleveland National Forest Laguna Campground Cancellation;

                       Mrs. Oliver was charged a $8 reservation Junk Fee and a $10 cancellation Junk

                       Fee.

               m.      October 4, 2022, Cleveland National Forest Laguna Campground; Mrs. Oliver

                       was charged a $58 use fee and a $8 reservation Junk Fee.

               n.      October 23, 2022, Cleveland National Forest Laguna Campground

                       Cancellation; Mrs. Oliver was charged a $8 reservation Junk Fee and a $10

                       cancellation Junk Fee.

                    o. October 24, 2022, Cleveland National Forest Laguna Campground

                       Cancellation; Mrs. Oliver was charged a $10 cancellation Junk Fee.

                    p. December 24, 2022, Cleveland National Forest Laguna Campground; Mrs.

                       Oliver was charged a $96 use fee and a $8 reservation Junk Fee. 12




12
     Mrs. Oliver also has additional reservations on her recreation.gov account.



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       204.   Here is an example of a recreation.gov receipt from Mrs. Oliver’s account from

before Booz Allen took over operation of the website, which reflects no reservation Junk Fee:




       205.   And here is a similar campground reservation receipt from Mrs. Oliver’s account

from after Booz Allen took over recreation.gov, which reflects an $8 reservation Junk Fee:




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       206.    Here is an example of a $10 cancellation Junk Fee receipt from Mrs. Oliver’s

account incurred after Booz Allen took over operation of recreation.gov:




       207.    On information and belief, each of the Junk Fees incurred by Mrs. Oliver on

recreation.gov was paid to Booz Allen.

       208.    At the time each of these transactions occurred, Mrs. Oliver was led to believe by

the recreation.gov website’s interface that the Junk Fees were being paid to the Federal Agencies,

not Booz Allen.

       209.    Each of the Junk Fees paid by Mrs. Oliver is a “recreation fee” within the meaning

of the FLREA and the Kotab decision, but was not adopted in compliance with that FLREA.

       210.    Accordingly, each of the Junk Fees paid by Mrs. Oliver to Booz Allen violate the

FLREA.

       211.    Further, because the payments to Booz Allen were not disclosed to Mrs. Oliver, the

Junk Fees are unlawful and deceptive in violation of California’s consumer protection laws.

       212.    Finally, the “lottery” Junk Fee paid by Mrs. Oliver also violates applicable federal

and state lottery and anti-gambling laws.


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       213.    Had Mrs. Oliver known the true nature of Booz Allen’s operation of recreation.gov

and that the Junk Fees were paid to Booz Allen and not the Federal Agencies, Mrs. Oliver would

have instead contacted the relevant Federal Agencies directly to make her reservations to avoid

paying the Junk Fees to Booz Allen. However, on information and belief, during the periods at

issue, such efforts would have been futile, at least as to the Mt. Whitney lottery entry, because the

Mt. Whitney lottery was exclusively available through recreation.gov.

               4.      Kristen Jones.

       214.    Plaintiff Kristen Jones is an enthusiast of National Parks and enjoys spending time

outdoors to recreate and relax. She intends to make similar visits to National Parks and other

federal lands in the future.

       215.    At all relevant times to this litigation, Mrs. Jones has been a resident of California.

       216.    Mrs. Jones created a recreation.gov account in or about November 2021. During

the account creation process, Mrs. Jones was never notified that recreation.gov was operated by

Booz Allen and that a portion of any of fees that she may pay on the website would go to Booz

Allen instead of the Federal Agencies.

       217.    After creating her account, Mrs. Jones incurred the following Junk Fees entering

lotteries on recreation.gov:

               a. November 22, 2021, Coyote Buttes North (The Wave) Lottery in the Paria

                    Canyon-Vermilion Cliffs Wilderness; Mrs. Jones was unsuccessful in the

                    lottery and received nothing in exchange for her $9 lottery Junk Fee.

               b. August 24, 2022, Coyote Buttes North (The Wave) Lottery in the Paria Canyon-

                    Vermilion Cliffs Wilderness; Mrs. Jones was unsuccessful in the lottery and

                    received nothing in exchange for her $9 lottery Junk Fee.




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       218.    Here an example for how those lottery Junk Fees appear on Mrs. Jones’

recreation.gov account:




       219.    On information and belief, each of the Junk Fees incurred by Mrs. Jones on

recreation.gov was paid to Booz Allen.

       220.    At the time each of these transactions occurred, Mrs. Jones was led to believe by

the recreation.gov website’s interface that the Junk Fees were being paid to the Federal Agencies,

not Booz Allen.

       221.    Each of the Junk Fees paid by Mrs. Jones is a “recreation fee” within the meaning

of the FLREA and the Kotab decision, but was not adopted in compliance with that FLREA.

       222.    Accordingly, each of the Junk Fees paid by Mrs. Jones to Booz Allen violate the

FLREA.

       223.    Further, because the payments to Booz Allen were not disclosed to Mrs. Jones, the

Junk Fees are unlawful and deceptive in violation of California’s consumer protection laws.

       224.    Finally, the “lottery” Junk Fees paid by Mrs. Jones also violate applicable federal

and state lottery and anti-gambling laws.




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        225.   Had Mrs. Jones known the true nature of Booz Allen’s operation of recreation.gov

and that the Junk Fees were paid to Booz Allen and not the Federal Agencies, Mrs. Jones would

have instead contacted the relevant Federal Agencies directly to make her reservations to avoid

paying the Junk Fees to Booz Allen. However, on information and belief, during the periods at

issue, such efforts would have been futile, because “the Wave” lottery entries were exclusively

available through recreation.gov.

               5.      Natalia Loginova.

        226.   Plaintiff Natalia Loginova enjoys the outdoors and has a special interest in visiting

National Parks. Mrs. Loginova took a cross-country road trip with her mother to visit federal lands

in September 2022. She intends to make similar visits to National Parks and other federal lands in

the future.

        227.   At all relevant times to this litigation, Mrs. Loginova has been a resident of Florida.

        228.   Mrs. Loginova created a recreation.gov account in or about July 2022. During the

account creation process, Mrs. Loginova was never notified that recreation.gov was operated by

Booz Allen and that a portion of any of the fees that she may pay on the website would go to Booz

Allen instead of the Federal Agencies.

        229.   After creating her account, Mrs. Loginova made the following reservations and

incurred the following Junk Fees:

               a. August 1, 2022, Rocky Mountain National Park access reservation, which

                    included a $2 reservation Junk Fee.

               b. August 6, 2022, Mount Evans Wilderness reservation, which included a $2

                    reservation Junk Fee.




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       230.   Here are Mrs. Loginova’s receipts from those transactions, which both reflect a $2

reservation Junk Fee on transactions that otherwise would have been free:




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       231.    On information and belief, each of the Junk Fees incurred by Mrs. Loginova on

recreation.gov was paid to Booz Allen.

       232.    At the time each of these transactions occurred, Mrs. Loginova was led to believe

by the recreation.gov website’s interface that the Junk Fees were being paid to the Federal

Agencies, not Booz Allen.

       233.    Each of the Junk Fees paid by Mrs. Loginova is a “recreation fee” within the

meaning of the FLREA and the Kotab decision, but was not adopted in compliance with that

FLREA.

       234.    Accordingly, each of the Junk Fees paid by Mrs. Loginova to Booz Allen violate

the FLREA.

       235.    Further, because the payments to Booz Allen were not disclosed to Mrs. Loginova,

the Junk Fees are unlawful and deceptive in violation of Florida’s consumer protection laws.

       236.    Had Mrs. Loginova known the true nature of Booz Allen’s operation of

recreation.gov and that the Junk Fees were paid to Booz Allen and not the Federal Agencies, Mrs.

Loginova would have instead contacted the relevant Federal Agencies directly to make her

reservations to avoid paying the Junk Fees to Booz Allen.

               6.      Josh Berger.

       237.    Plaintiff Josh Berger is an avid outdoorsman and spends much of his free time

walking, running, and hiking on federal lands with his family. He intends to make similar visits to

National Parks and other federal lands in the future.

       238.    At all relevant times to this litigation, Mr. Berger has been a resident of New York.

       239.    Mr. Berger created a recreation.gov account in or about the Spring of 2022. During

the account creation process, Mr. Berger was never notified that recreation.gov was operated by




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Booz Allen and that a portion of any of fees that he may pay on the website would go to Booz

Allen instead of the Federal Agencies.

       240.   After creating his account, on May 10, 2022, Mr. Berger made an Arches National

Park Timed Entry Reservation and paid a $2 reservation Junk Fee.

       241.   Here is the receipt for that transaction from Mr. Berger’s recreation.gov account:




       242.   On information and belief, the Junk Fee incurred by Mr. Berger on recreation.gov

was paid to Booz Allen.

       243.   At the time this transaction occurred, Mr. Berger was led to believe by the

recreation.gov website’s interface that the Junk Fee was being paid to the Federal Agencies, not

Booz Allen.

       244.   The Junk Fee paid by Mr. Berger is a “recreation fee” within the meaning of the

FLREA and the Kotab decision, but was not adopted in compliance with that FLREA.

       245.   Accordingly, the Junk Fee paid by Mr. Berger to Booz Allen violates the FLREA.

       246.   Further, because the payment to Booz Allen was not disclosed to Mr. Berger, the

Junk Fee is unlawful and deceptive in violation of New York’s consumer protection laws.




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          247.   Had Mr. Berger known the true nature of Booz Allen’s operation of recreation.gov

and that the Junk Fee was paid to Booz Allen and not the Federal Agencies, Mr. Berger would

have instead contacted the relevant Federal Agency directly to make his reservation to avoid

paying the Junk Fee to Booz Allen.

          248.   In the summer of 2022, Mr. Berger planned a cross-country trip to visit multiple

federal lands, but was unable to enter many of those federal lands due to limiting features of the

recreation.gov website.

                 7.     Nick Lauritzen.

          249.   Plaintiff Nick Lauritzen frequently spends time in the outdoors and views federal

lands as an invaluable resource. He intends to visit National Parks and other federal lands in the

future.

          250.   At all relevant times to this litigation, Mr. Lauritzen has been a resident of Utah.

          251.   Mr. Lauritzen created a recreation.gov account in or about 2018. Mr. Lauritzen

was never notified that recreation.gov was operated by Booz Allen and that a portion of any of

fees that he may pay on the website would go to Booz Allen instead of the Federal Agencies.

          252.   After creating his account, among other transactions, Mr. Lauritzen made a

reservation on July 4, 2021, at the Tony Grove Campground in Uinta-Wasatch-Cache National

Forest. Mr. Lauritzen paid a $22 camping use fee, a $8 reservation Junk Fee, and $2.55 in taxes.




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       253.   Here is the receipt for the transaction from Mr. Lauritzen’s recreation.gov account:




       254.   On information and belief, the Junk Fee incurred by Mr. Lauritzen on

recreation.gov was paid to Booz Allen.

       255.   At the time the transaction occurred, Mr. Lauritzen was led to believe by the

recreation.gov website’s interface that the Junk Fee was being paid to the Federal Agencies, not

Booz Allen.

       256.   The Junk Fee paid by Mr. Lauritzen is a “recreation fee” within the meaning of the

FLREA and the Kotab decision, but was not adopted in compliance with that FLREA.

       257.   Accordingly, the Junk Fee paid by Mr. Lauritzen to Booz Allen violates the

FLREA.

       258.   Further, because the payment to Booz Allen was not disclosed to Mr. Lauritzen, the

Junk Fee is unlawful and deceptive in violation of Utah’s consumer protection laws.




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       259.    Had Mr. Lauritzen known the true nature of Booz Allen’s operation of

recreation.gov and that the Junk Fee was paid to Booz Allen and not the Federal Agencies, Mr.

Lauritzen would have instead contacted the relevant Federal Agencies directly to make his

reservation to avoid paying the Junk Fee to Booz Allen.

                                       CLASS ALLEGATIONS

       260.    This action is brought and may properly proceed as a class action pursuant to

Federal Rule of Civil Procedure 23, including Sections (b)(1), (b)(2) and (b)(3) of Rule 23.

       261.    Plaintiffs seek certification of the following national class (the “National Class”),

consisting of the following individuals:

               All individuals in the United States who were charged a Junk Fee on
               the recreation.gov website and/or App.

       262.    The National Class is represented by all Plaintiffs.

       263.    Plaintiffs also seek certification of the following national class of the Military,

Veterans, and the Disabled (the “Military, Veterans, and Disabled Class”), consisting of the

following individuals:

               All members of the Armed Forces and their dependents, veterans,
               Gold Star Families, and disabled individuals, as defined by 16
               U.S.C. § 6804(b)(2)-(3), who were charged a Junk Fee for making a
               park access reservation through the recreation.gov website and/or
               App.

       264.    The Military, Veterans, and Disabled Class is represented by Plaintiff Streeter.

       265.    Additionally, Plaintiffs seek certification of the following state-specific classes

(collectively, the “State Classes”):

               a. The California Class: All residents of California who were charged a Junk Fee

                   on the recreation.gov website and/or App. The California Class is represented

                   by Plaintiffs Streeter, Oliver, and Jones.



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               b. The Florida Class: All residents of Florida who were charged a Junk Fee on

                   the recreation.gov website and/or App. The Florida Class is represented by

                   Plaintiff Loginova.

               c. The New York Class: All residents of New York who were charged a Junk Fee

                   on the recreation.gov website and/or App. The New York Class is represented

                   by Plaintiff Berger.

               d. The Utah Class: All residents of Utah who were charged a Junk Fee on the

                   recreation.gov website and/or App. The Utah Class is represented by Plaintiff

                   Lauritzen.

               e. The Washington Class: All residents of Washington who were charged a Junk

                   Fee on the recreation.gov website and/or App. The Washington Class is

                   represented by Plaintiff Wilson.

       266.    The National Class, the Military, Veterans, and Disabled Class, and the State

Classes are collectively referred to as the “Classes.”

       267.    Plaintiffs explicitly reserve their right to amend, add to, modify, and/or otherwise

change the proposed class definitions as discovery in this action progresses.

       268.    The following people are excluded from any of the Classes: (1) any Judge or

Magistrate presiding over this action, members of their staffs (including judicial clerks), and

members of their families; (2) Defendants, Defendants’ subsidiaries, parents, successors,

predecessors, and any entity in which the Defendant or its parents have a controlling interest, and

their current or former employees, officers and directors; (3) persons who properly execute and

file a timely request for exclusion from the Classes; (4) persons whose claims in this matter have

been finally adjudicated on the merits or otherwise released; (5) Plaintiffs’ counsel and




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Defendants’ counsel, and non-attorney employees of their firms; and (6) the legal representatives,

successors, and assigns of any such excluded persons.

       269.    Ascertainability. Plaintiffs are informed and believe that the identities of members

of the Classes are ascertainable through Defendants’ records, because, among other reasons, each

of the recreation.gov accounts reviewed by Plaintiffs’ Counsel have contained detailed records for

each transaction initiated through recreation.gov.

       270.    Numerosity. Plaintiffs are informed and believe that there are tens of thousands or

potentially millions of members of the Classes. For example, on its corporate website, Booz Allen

contends that it processed approximately 9 million transactions on recreation.gov in 2021 alone.

The Classes are so large that the joinder of all of their members is impracticable. The exact number

of members of each of the Classes can be determined from information in the possession and

control of Defendants.

       271.    Commonality. Defendants have acted or refused to act on grounds that apply

generally to the Classes, by charging Junk Fees in a standardized and uniform manner to members

of the Classes based on transaction type. Absent certification of the Classes, the relief sought herein

creates the possibility of inconsistent judgments and/or obligations imposed on Defendants.

Numerous common issues of fact and law exist, including, without limitation:

               a. Whether the Junk Fees were adopted in compliance with the FLREA;

               b. Whether the Junk Fees violate the FLREA;

               c. Whether the Junk Fees charged to the Military, Veterans, and the Disabled

                   violate the FLREA;




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            d. The nature and extent of any misrepresentations and/or lack of disclosures made

               to consumers regarding Booz Allen’s operation of recreation.gov and the

               recreation.gov App;

            e. The nature, extent, policies, and practices for charging consumers Junk Fees;

            f. Whether the lotteries conducted on recreation.gov and the App, including the

               associated lottery Junk Fees, violate federal and state anti-lottery and anti-

               gambling laws;

            g. Whether Defendants should have to repay the monies lost by Plaintiffs and the

               Classes;

            h. Whether Defendants should be required to make restitution to Plaintiffs and the

               Classes;

            i. Whether Defendants should be disgorged of monies that they received as ill-

               gotten gains;

            j. Whether Defendants should be required to pay damages to Plaintiffs and

               members of the Classes, including, statutory, punitive, and treble damages,

               where available by law;

            k. Whether Defendants should be enjoined from continuing to charge Junk Fees

               on recreation.gov and the App

            l. Whether Defendants should be enjoined from charging Junk Fees on

               recreation.gov and the App to the Military, Veterans, and the Disabled; and

            m. Whether Defendants should be required to disclose Booz Allen’s operation of

               recreation.gov and the App.




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       272.    Predominance. These common issues predominate over individualized inquiries

in this action because Defendants’ liability can be established as to all members of the Classes as

discussed herein.

       273.    Typicality. Plaintiffs’ claims are typical, if not identical, to the claims that could

be asserted by all members of the Classes. Plaintiffs’ claims arise from Defendants’ practices

applicable to all such class members. Further, with regard to the Military, Veterans, and Disabled

Class and the State Classes:

               a. Plaintiff Streeter’s claims are typical, if not identical, to the claims that could

                    be asserted by all members of the Military, Veterans, and Disabled Class.

               b. Plaintiffs Streeter’s, Oliver’s, and Jones’ claims are typical, if not identical, to

                    the claims that could be asserted by all members of the California Class.

               c. Plaintiff Loginova’s claims are typical, if not identical, to the claims that could

                    be asserted by all members of the Florida Class.

               d. Plaintiff Berger’s claims are typical, if not identical, to the claims that could be

                    asserted by all members of the New York Class.

               e. Plaintiff Lauritzen’s claims are typical, if not identical, to the claims that could

                    be asserted by all members of the Utah Class.

               f. Plaintiff Wilson’s claims are typical, if not identical, to the claims that could be

                    asserted by all members of the Washington Class.

       274.    Adequacy. Plaintiffs will fairly and adequately represent and protect the interests

of the Classes and have retained counsel competent and experienced in complex litigation and

class actions. Plaintiffs’ claims are representative of the claims of the other members of the

Classes, as Plaintiffs and each member of the Classes lost money by paying Junk Fees to Booz




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Allen. Plaintiffs also have no interests antagonistic to those of the Classes, and Defendants have

no defenses unique to Plaintiffs. Plaintiffs and their counsel are committed to vigorously

prosecuting this action on behalf of the Classes and have the financial resources to do so. Neither

Plaintiffs nor their counsel have any interest adverse to the Classes.

       275.    Superiority. There are substantial benefits to proceeding as a class action that

render proceeding a class action superior to any alternatives, including that it will provide a

realistic means for members of the Classes to recover damages; the damages suffered by members

of the Classes may be relatively small; it would be substantially less burdensome on the courts and

the parties than numerous individual proceedings; many members of the Classes may be unaware

that they have legal recourse for the conduct alleged herein; and because issues common to

members of the Classes can be effectively managed in a single proceeding. Plaintiffs know of no

difficulty that could be encountered in the management of this litigation that would preclude its

maintenance as a class action.

       276.    Plaintiffs reserve the right to revise each of the foregoing allegations based on facts

learned through additional investigation and in discovery.

                                     CAUSES OF ACTION

   I. First Cause of Action: Declaratory Judgment, 28 U.S.C. § 2201, on Behalf of the
      National Class, the Military, Veterans, and Disabled Class, and the State Classes.

       277.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       278.    The Declaratory Judgement Act, 28 U.S.C. § 2201, provides that “any court of the

United States, upon the filing of an appropriate pleading, may declare the rights and other legal

relations of any interested party seeking such declaration, whether or not further relief is or could

be sought.”



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       279.    As alleged above, Plaintiffs and the Classes seek a declaration that the Junk Fees

violate the FLREA.

       280.    An actual, present, and justiciable controversy has arisen between Plaintiffs, the

Classes, and Defendants concerning Defendants’ ability to charge these Junk Fees under the

FLREA.

       281.    Plaintiffs and the Classes seek declaratory judgment from this Court that

Defendants’ charging of the Junk Fees violates the FLREA.

   II. Second Cause of Action: Declaratory Judgment, 28 U.S.C. § 2201, on Behalf of the
       Military, Veterans, and Disabled Class.

       282.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       283.    The Declaratory Judgement Act, 28 U.S.C. § 2201, provides that “any court of the

United States, upon the filing of an appropriate pleading, may declare the rights and other legal

relations of any interested party seeking such declaration, whether or not further relief is or could

be sought.”

       284.    As alleged above, Plaintiff Streeter and the Military, Veterans, and Disabled Class

seek a declaration that the park access reservation Junk Fees violate the FLREA when charged to

members of the Armed Forces and their dependents, veterans, Gold Star Families, and the disabled

because these individuals are entitled to access National Parks and other federal recreational lands

“without charge” and/or at “no cost.” 16 U.S.C. § 6804(b)(2)-(3).

       285.    An actual, present and justiciable controversy has arisen between Plaintiff Streeter

and the Military, Veterans, and Disabled Class, and Defendants concerning Defendants’ ability to

charge these park access Junk Fees to Plaintiff Streeter and members of the Military, Veterans,

and Disabled Class.



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       286.    Plaintiff Streeter and the Military, Veterans, and Disabled Class seek declaratory

judgment from this Court that charging these park access Junk Fees to members of the Armed

Forces and their dependents, veterans, Gold Star Families, and the disabled violates 16 U.S.C. §

6804(b)(2)-(3).

  III. Third Cause of Action: Unjust Enrichment, on Behalf of the National Class, Military,
       Veterans, and Disabled, and the State Classes.

       287.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       288.    Defendants knowingly received and retained wrongful benefits and funds from

Plaintiffs and members of the Classes by charging them unlawful Junk Fees.

       289.    In so doing, Defendants acted with conscious disregard for the rights of Plaintiffs

and members of the Classes.

       290.    As a result of Defendants’ wrongful conduct, Defendants have been unjustly

enriched at the expense of, and to the detriment of, Plaintiffs and members of the Classes.

Defendants’ retention of such funds constitutes unjust enrichment.

       291.    Defendants’ unjust enrichment is traceable to, and resulted directly and proximately

from, the conduct alleged herein, specifically, and including the charging of Junk Fees to

consumers.

       292.    Under the common law doctrine of unjust enrichment, it is inequitable for

Defendants to retain the benefits they received from charging Junk Fees, and are still receiving,

without justification, from the imposition of the Junk Fees on Plaintiffs and members of the Classes

in an unfair, unconscionable, and oppressive manner.

       293.    The financial benefits derived by Defendants rightfully belong to Plaintiffs and

members of the Classes. Defendants should be compelled to disgorge in a common fund for the



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benefit of Plaintiffs and members of the Classes all wrongful or inequitable proceeds received by

them. Further, a constructive trust should be imposed upon all wrongful or inequitable sums

received by Defendants traceable to Plaintiffs and the members of the Classes.

          294.   Plaintiffs and the Class have no adequate remedy at law. 13

     IV. Fourth Cause of Action, Unlawful Violation of the Virginia Consumer Protection Act,
         Va. Code §§ 59.1-196 et seq., on Behalf of the National Class and the Military,
         Veterans, and Disabled Class.

          295.   Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

          296.   On information and belief, the acts and practices at issue in this action, as alleged

in this Complaint, were directed from Booz Allen’s corporate headquarters in Virginia.

Accordingly, the Virginia Consumer Protection Act, Va. Code §§ 59.1-196 et seq., applies to Booz

Allen and Defendants.

          297.   Among other things, the Virginia Consumer Protection Act prohibits “[u]sing any

other deception, fraud, false pretense, false promise, or misrepresentation in connection with a

consumer transaction.” Id. at § 59.1-200(A)(14).

          298.   Plaintiffs contend that an act or practices that violates applicable law that is held

out as being valid by a business is per se false, deceptive, and misleading within the meaning of

the Virginia Consumer Protection Act.




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  To the extent that Plaintiffs and the Classes also allege legal causes of action herein, they are
entitled to plead these theories of relief in the alternative, to the extent any inconsistency exists.
See Fed. R. Civ. P., Rule 8(a)(3).



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       299.    Accordingly, Defendants violated the Virginia Consumer Protection Act because,

among other things, the charging of Junk Fees violates:

               a. The FLREA, which prohibits the charging of “recreation fees,” except in

                   specific circumstances, which Defendants have not and cannot satisfy;

               b. Section 16 U.S.C. § 6804(b)(2)-(3) of the FLREA, which entitles the Military,

                   Veterans, and the Disabled to free National Park (and other federal land) access;

               c. 18 U.S.C. §§ 1301, et seq., which prohibits the promotion and advertisement of

                   lotteries in interstate commerce; and

               d. Va. Code §§ 18.2-325, et seq., which, among other things, prohibits

                   participation in interstate lotteries.

       300.    The Junk Fees were charged on “consumer transactions” within the meaning of

Virginia Consumer Protection Act, § 59.1-198, because, among other reasons, the transactions

involve the “sale . . . goods or services to be used primarily for personal, family or household

purposes.”

       301.    Booz Allen and Defendants are “seller[s] . . . who advertise[], solicit[], or engage[]

in consumer transactions” through their operations of recreation.gov, as alleged in this Complaint.

Id.

       302.    Plaintiffs and members of the National Class and the Military, Veterans, and

Disabled Class have been deceived by Defendants’ acts as alleged in this Complaint, and have

suffered concrete financial harm arising from the deception, in the form of paying Junk Fees to

Defendants.

       303.    Defendants violated and continue to violate the legal of Plaintiffs and the National

Class and the Military, Veterans, and Disabled Class by knowingly charging unlawful Junk Fees




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and refusing to refund those sums to Plaintiffs and the National Class and the Military, Veterans,

and Disabled Class.

       304.    Defendants’ charging of Junk Fees constitutes a willful violation of the Virginia

Consumer Protection Act, which entitles Plaintiffs and the National Class and the Military,

Veterans, and Disabled Class to “three times the actual damages sustained, or $1,000, whichever

is greater.” Va. Code § 59.1-204(A).

       305.    At a minimum, since the Kotab decision was issued in March of 2022, there can be

no question that Defendants knew the Junk Fees to be unlawful, yet willfully elected to continue

to charge the illegal Junk Fees to Plaintiffs and the National Class and the Military, Veterans, and

Disabled Class.

       306.    Plaintiffs and the National Class and the Military, Veterans, and Disabled Class

seek all available remedies and relief available under the Virginia Consumer Protection Act,

including an award of compensatory and/or actual damages, trebling of compensatory and/or

actual damages, an award of statutory damages, punitive damages, and attorneys’ fees and costs.

Va. Code § 59.1-204.

   V. Fifth Cause of Action, Deceptive Violation of the Virginia Consumer Protection Act,
      Va. Code §§ 59.1-196 et seq., on Behalf of the National Class and the Military,
      Veterans, and Disabled Class.

       307.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       308.    As alleged above, Defendants deceived Plaintiffs and the National Class and the

Military, Veterans, and Disabled Class into believing that the unlawful Junk Fees charged on

recreation.gov were paid to the Federal Agencies, when in fact, they were paid to Defendants.




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       309.       On information and belief, the acts and practices at issue in this action, as alleged

in this Complaint, were directed from Booz Allen’s corporate headquarters, in Virginia.

Accordingly, the Virginia Consumer Protection Act applies to Booz Allen and Defendants.

       310.       Among other things, the Virginia Consumer Protection Act prohibits “[u]sing any

other deception, fraud, false pretense, false promise, or misrepresentation in connection with a

consumer transaction.” Id. at § 59.1-200(A)(14).

       311.       The Junk Fees were charged on “consumer transactions” within the meaning of

Virginia Consumer Protection Act, § 59.1-198, because, among other reasons, the transactions

involve the “sale . . . goods or services to be used primarily for personal, family or household

purposes.”

       312.       Booz Allen and Defendants are “seller[s] . . . who advertise[], solicit[], or engage[]

in consumer transactions” through their operations of recreation.gov, as alleged in this Complaint.

Id.

       313.       Defendants’ practices, as alleged in this Complaint, violate the Virginia Consumer

Protection Act because, among other reasons, they “[m]isrepresent[] goods [and] services [sold by

Booz Allen] as those [of] another.” Namely, the goods and services sold by Booz Allen and

Defendants on recreation.gov were misrepresented to consumers to appear as though they

originated with the Federal Agencies, instead of Booz Allen. Va. Code Ann. § 59.1-200(A)(1).

       314.       Further, the charging of Junk Fees was deceptive because the Junk Fees were

misrepresented to consumers. Id. at § 59.1-200(A)(14) (Prohibiting “[u]sing any other deception,

fraud, false pretense, false promise, or misrepresentation in connection with a consumer

transaction.”).




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       315.   Specifically, as alleged in this Complaint, Defendants’ deceptive and false acts and

practices, misrepresentations, and/or material omissions include, but are not limited to, the

following:

              a. Operating the recreation.gov website and App to create the appearance that they

                 are run by the Federal Agencies, and not Booz Allen, including by displaying

                 the official insignias of the Federal Agencies and using a “.gov” domain.

              b. Predominantly displaying the official insignias of the Federal Agencies, using

                 a “.gov” domain, and displaying other information to create the affirmative and

                 false misrepresentation to consumers that the recreation.gov website and App

                 charge the Junk Fees on behalf of the Federal Agencies.

              c. Predominantly displaying the official insignias of the Federal Agencies, using

                 a “.gov” domain, and displaying other information to create the affirmative and

                 false representation to consumers that Junk Fees paid through the

                 recreation.gov website and App are paid to the Federal Agencies, and not Booz

                 Allen.

              d. Intentionally omitting references to Booz Allen from the recreation.gov website

                 and App, including by omitting references to Booz Allen on the recreation.gov

                 homepage, the “About Us” page, the Terms of Service, the Privacy Policy,

                 among other places.

              e. To the extent Booz Allen’s involvement is disclosed to consumers, that hidden

                 disclosure affirmatively misstates that Booz Allen operates recreation.gov as a

                 “public service,” when in fact, Booz Allen operates recreation.gov and the App

                 for its own profit and at the expense of the public good.




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            f. Sending marketing emails and making other affirmative misrepresentations to

                consumers about the prices of services on recreation.gov and the App that do

                not include the Junk Fess.

            g. Not disclosing the existence of Junk Fees until the time of checkout, if at all.

            h. Failing to disclose that the Junk Fees are paid to Booz Allen.

            i. Failing to disclose that the Junk Fees violate the FLREA.

            j. Failing to disclose that the lottery Junk Fees violate state and federal anti-lottery

                and anti-gambling laws.

            k. Failing to disclose that recreation.gov and the recreation.gov App are operated

                by a for profit federal contractor, for that contractor’s profit, instead of for the

                benefit of the public and/or the Federal Agencies.

            l. Failing to disclose that Booz Allen has complete control over the amount of the

                Junk Fees charged to consumers.

            m. Representing that the Junk Fees are lawful and valid fees.

            n. Restricting access to federal lands unless the unlawful Junk Fees are paid to

                Booz Allen.

            o. Representing to the Military, Veterans, and the Disabled that they cannot access

                National Parks (and other federal lands) without paying Junk Fees, in violation

                of the FLREA.

            p. Charging Junk Fees that are not in any way proportional to the costs of

                providing the recreation.gov and App services or the value of those services.




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       316.    Plaintiffs and the National Class and the Military, Veterans, and Disabled Class

have been deceived by Defendants’ acts as alleged in this Complaint, and have suffered concrete

financial harm arising from Defendants’ acts, in the form of paying Junk Fees to Defendants.

       317.    Defendants violated and continue to violate Plaintiffs’ and the National Class’s and

the Military, Veterans, and Disabled Class’s legal rights by knowingly keeping the unlawfully

charged Junk Fees and refusing to refund those sums to Plaintiffs and the Classes.

       318.    Defendants’ charging of Junk Fees constitutes a willful violation of the Virginia

Consumer Protection Act, which entitles Plaintiffs and National Class to “three times the actual

damages sustained, or $1,000, whichever is greater.” Va. Code § 59.1-204(A).

       319.    At a minimum, since the Kotab decision was issued in March of 2022, there can be

no question that Defendants knew the Junk Fees to be unlawful, yet willfully elected to continue

to charge the illegal Junk Fees to Plaintiffs and the National Class and the Military, Veterans, and

Disabled Class.

       320.    Plaintiffs and the National Class and the Military, Veterans, and Disabled Class

seek all available remedies and relief available under the Virginia Consumer Protection Act,

including an award of compensatory and/or actual damages, trebling of compensatory and/or

actual damages, an award of statutory damages, punitive damages, and attorneys’ fees and costs.

Va. Code § 59.1-204.

  VI. Sixth Cause of Action, Unlawful Violation of California’s Unfair Competition Law,
      Cal. Bus. & Prof. Code §§ 17200 et seq., on Behalf of the California Class.

       321.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       322.    Defendants, Plaintiffs Streeter, Oliver, and Jones, and the California Class are

“persons” within the meaning of the California Unfair Competition Law (“UCL”).



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       323.    The UCL prohibits any “unlawful, unfair or fraudulent business act or practice.”

       324.    Defendants’ practices of charging Junk Fees are “unlawful” within the meaning of

the UCL because, among other things, those Junk Fees violate:

               a. The FLREA, which prohibits the charging of “recreation fees,” except in

                    specific circumstances, which Defendants have not and cannot satisfy;

               b. Section 16 U.S.C. § 6804(b)(2)-(3) of the FLREA, which entitles the Military,

                    Veterans, and the Disabled to free National Park (and other federal land) access;

               c. 18 U.S.C. §§ 1301, et seq., which prohibits the promotion and advertisement of

                    lotteries in interstate commerce; and

               d. California Penal Code §§ 319 et seq., which bans the operations of lotteries,

                    where the lottery involves: “(1) a prize; (2) distribution by chance; and (3)

                    consideration.” Western Telcon, Inc., 13 Cal.4th at 484.

       325.    Defendants have, in the course of their business and in the course of trade or

commerce, charged these unlawful Junk Fees to Plaintiffs Streeter, Oliver, and Jones and the

California Class.

       326.    Plaintiffs Streeter, Oliver, and Jones and the California Class have suffered injury

in fact—in the form of Junk Fees—and have lost money as a result of Defendants’ unlawful

business acts and practices, and will continue to lose money and be injured by those acts and

practices if the practices are not enjoined.

       327.    Plaintiffs Streeter, Oliver, and Jones and the California Class seek an order

providing restitution and disgorgement of all Junk Fees paid to Booz Allen by Plaintiffs Streeter,

Oliver, and Jones and the California Class and injunctive and declaratory relief as may be

appropriate.




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       328.    Plaintiffs Streeter, Oliver, and Jones and the California Class further seek their

attorneys’ fees and costs pursuant to California Code of Civil Procedure Section 1021.5 because

Plaintiffs and the California Class seek to enforce “an important right affecting the public interest”

in bringing this cause of action.

 VII. Seventh Cause of Action, Unfair Violation of California’s Unfair Competition Law,
      Cal. Bus. & Prof. Code §§ 17200 et seq., on Behalf of the California Class.

       329.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       330.    Defendants, Plaintiffs Streeter, Oliver, and Jones, and the California Class are

“persons” within the meaning of the UCL.

       331.    The UCL prohibits any “unlawful, unfair or fraudulent business act or practice.”

       332.    The acts and practices of Defendants as alleged herein also constitute “unfair”

business acts and practices under the UCL because Defendants’ conduct is unconscionable,

immoral, deceptive, unfair, illegal, unethical, oppressive, and/or unscrupulous. Further, the gravity

of Defendants’ conduct outweighs any conceivable benefit of such conduct.

       333.    Defendants have, in the course of their business and in the course of trade or

commerce, undertaken and engaged in unfair business acts and practices by tricking consumers

into paying Junk Fees by causing consumers to believe that the Junk Fees were being paid to the

Federal Agencies, and not being kept by Defendants for their own profits.

       334.    Specifically, as alleged in this Complaint, Defendants’ unfair acts and practices,

omissions, and/or affirmative misstatements include, but are not limited to, the following:

               a. Operating the recreation.gov website and App to create the appearance that they

                   are run by the Federal Agencies, and not Booz Allen, including by displaying

                   the official insignias of the Federal Agencies and using a “.gov” domain.



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            b. Predominantly displaying the official insignias of the Federal Agencies, using

               a “.gov” domain, and displaying other information to create the affirmative and

               false misrepresentation to consumers that the recreation.gov website and App

               charge the Junk Fees on behalf of the Federal Agencies.

            c. Predominantly displaying the official insignias of the Federal Agencies, using

               a “.gov” domain, and displaying other information to create the affirmative and

               false representation to consumers that Junk Fees paid through the

               recreation.gov website and App are paid to the Federal Agencies, and not Booz

               Allen.

            d. Intentionally omitting references to Booz Allen from the recreation.gov website

               and App, including by omitting references to Booz Allen on the recreation.gov

               homepage, the “About Us” page, the Terms of Service, the Privacy Policy,

               among other places.

            e. To the extent Booz Allen’s involvement is disclosed to consumers, that hidden

               disclosure affirmatively misstates that Booz Allen operates recreation.gov as a

               “public service,” when in fact, Booz Allen operates recreation.gov and the App

               for its own profit and at the expense of the public good.

            f. Sending marketing emails and making other affirmative misrepresentations to

               consumers about the prices of services on recreation.gov and the App that do

               not include the Junk Fess.

            g. Not disclosing the existence of Junk Fees until the time of checkout, if at all.

            h. Failing to disclose that the Junk Fees are paid to Booz Allen.

            i. Failing to disclose that the Junk Fees violate the FLREA.




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               j. Failing to disclose that the lottery Junk Fees violate state and federal anti-lottery

                   and anti-gambling laws.

               k. Failing to disclose that recreation.gov and the recreation.gov App are operated

                   by a for profit federal contractor, for that contractor’s profit, instead of for the

                   benefit of the public and/or the Federal Agencies.

               l. Failing to disclose that Booz Allen has complete control over the amount of the

                   Junk Fees charged to consumers.

               m. Representing that the Junk Fees are lawful and valid fees.

               n. Restricting access to federal lands unless the unlawful Junk Fees are paid to

                   Booz Allen.

               o. Representing to the Military, Veterans, and the Disabled that they cannot access

                   National Parks (and other federal lands) without paying Junk Fees, in violation

                   of the FLREA.

               p. Charging Junk Fees that are not in any way proportional to the costs of

                   providing the recreation.gov and App services or the value of those services.

       335.    Plaintiffs Streeter, Oliver, and Jones and the California Class have suffered injury

in fact—in the form of paying Junk Fees—and have lost money as a result of Defendants’ unfair

and deceptive acts and practices, and will continue to lose money and be injured by those acts and

practices if the practices are not enjoined.

       336.    Plaintiffs Streeter, Oliver, and Jones and the California Class seek an order

providing restitution and disgorgement of all Junk Fees paid to Booz Allen by Plaintiffs Streeter,

Oliver, and Jones and the California Class and injunctive and declaratory relief as may be

appropriate.




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       337.    Plaintiffs Streeter, Oliver, and Jones and the California Class further seek their

attorneys’ fees and costs pursuant to California Code of Civil Procedure Section 1021.5 because

Plaintiffs and the California Class seek to enforce “an important right affecting the public interest”

in bringing this cause of action.

VIII. Eighth Cause of Action, Violation of California’s California Consumer Legal
      Remedies Act, Cal. Civ. Code §§ 1750 et seq., on Behalf of the California Class.

       338.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       339.    At all relevant times, Plaintiffs Streeter, Oliver, and Jones and the California Class

were “consumers” under the terms of the California Consumer Legal Remedies Act (“CLRA”),

Cal. Civ. Code §§ 1750 et seq., as individuals seeking or acquiring, by purchase or lease, goods or

services for personal, family, or household purposes.

       340.    Defendants’ actions and conduct constituted transactions for the sale or lease of

goods or services to consumers under the terms of the CLRA, namely the selling of online

reservations, conducting lotteries, and charging the associated Junk Fees through recreation.gov

and the recreation.gov App.

       341.    Defendants violated the CLRA by, among other things, making material false

statements and omitting truthful information about the Junk Fees charged to Plaintiffs Streeter,

Oliver, and Jones and the California Class.




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       342.    Specifically, as alleged in this Complaint, Defendants’ unfair, unconscionable,

deceptive acts, practices, omissions, and/or affirmative misstatements include, but are not limited

to, the following:

               a. Operating the recreation.gov website and App to create the appearance that they

                     are run by the Federal Agencies, and not Booz Allen, including by displaying

                     the official insignias of the Federal Agencies and using a “.gov” domain.

               b. Predominantly displaying the official insignias of the Federal Agencies, using

                     a “.gov” domain, and displaying other information to create the affirmative and

                     false misrepresentation to consumers that the recreation.gov website and App

                     charge the Junk Fees on behalf of the Federal Agencies.

               c. Predominantly displaying the official insignias of the Federal Agencies, using

                     a “.gov” domain, and displaying other information to create the affirmative and

                     false representation to consumers that Junk Fees paid through the

                     recreation.gov website and App are paid to the Federal Agencies, and not Booz

                     Allen.

               d. Intentionally omitting references to Booz Allen from the recreation.gov website

                     and App, including by omitting references to Booz Allen on the recreation.gov

                     homepage, the “About Us” page, the Terms of Service, the Privacy Policy,

                     among other places.

               e. To the extent Booz Allen’s involvement is disclosed to consumers, that hidden

                     disclosure affirmatively misstates that Booz Allen operates recreation.gov as a

                     “public service,” when in fact, Booz Allen operates recreation.gov and the App

                     for its own profit and at the expense of the public good.




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            f. Sending marketing emails and making other affirmative misrepresentations to

                consumers about the prices of services on recreation.gov and the App that do

                not include the Junk Fess.

            g. Not disclosing the existence of Junk Fees until the time of checkout, if at all.

            h. Failing to disclose that the Junk Fees are paid to Booz Allen.

            i. Failing to disclose that the Junk Fees violate the FLREA.

            j. Failing to disclose that the lottery Junk Fees violate state and federal anti-lottery

                and anti-gambling laws.

            k. Failing to disclose that recreation.gov and the recreation.gov App are operated

                by a for profit federal contractor, for that contractor’s profit, instead of for the

                benefit of the public and/or the Federal Agencies.

            l. Failing to disclose that Booz Allen has complete control over the amount of the

                Junk Fees charged to consumers.

            m. Representing that the Junk Fees are lawful and valid fees.

            n. Restricting access to federal lands unless the unlawful Junk Fees are paid to

                Booz Allen.

            o. Representing to the Military, Veterans, and the Disabled that they cannot access

                National Parks (and other federal lands) without paying Junk Fees, in violation

                of the FLREA.

            p. Charging Junk Fees that are not in any way proportional to the costs of

                providing the recreation.gov and App services or the value of those services.




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          343.   Defendants’ misrepresentations were material, and Defendants’ violations of the

CLRA were a substantial factor in causing Plaintiffs Streeter, Oliver, and Jones and the California

Class to incur the Junk Fees.

          344.   As a direct and proximate consequence of these actions, Plaintiffs Streeter, Oliver,

and Jones and the California Class suffered injury.

          345.   Defendants’ conduct was malicious, fraudulent, and wanton in that it intentionally

and knowingly provided misleading information to Plaintiffs and the California Class for

Defendants’ own benefits to the detriment of Plaintiffs and the California Class.

          346.   Plaintiffs Streeter, Oliver, and Jones and the California Class seek injunctive and

declaratory relief prohibiting the Junk Fee practices described in this Complaint. 14

          347.   Plaintiffs Streeter, Oliver, and Jones and the California Class further seek their

attorneys’ fees and costs, including pursuant to California Code of Civil Procedure Section 1021.5

because Plaintiffs and the California Class seek to enforce “an important right affecting the public

interest” in bringing this cause of action.

     IX. Ninth Cause of Action, Violation of California’s False Advertising Law, Cal. Civ.
         Code §§ 17500 et seq., on Behalf of the California Class.

          348.   Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

          349.   In violation of California’s False Advertising Law, Cal. Bus. & Prof. Code §§

17500 et seq., Defendants’ advertisements, policies, acts, and practices described in this Complaint

were designed to cause Plaintiffs Streeter, Oliver, and Jones and the California Class into paying


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  Plaintiffs and the California Class expressly reserve their right to amend this cause of action to
claim damages, including exemplary and punitive damages, if Defendants fail to remedy their
practices within 30 days of service of the CLRA notice. See Cal. Civ. Code, § 1782(d) (expressly
permitting amendment to claim damages at least 30 days after service).



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Junk Fees to Defendants, and did in fact result in Plaintiffs Streeter, Oliver, and Jones and the

California Class paying unlawful Junk Fees to Defendants.

       350.    Defendants knew or reasonably should have known that representations on the

recreation.gov website and App are false and misleading.

       351.    Specifically, as alleged in this Complaint, Defendants’ unfair, unconscionable,

deceptive acts, practices, omissions, and/or affirmative misstatements include, but are not limited

to, the following:

               a. Operating the recreation.gov website and App to create the appearance that they

                     are run by the Federal Agencies, and not Booz Allen, including by displaying

                     the official insignias of the Federal Agencies and using a “.gov” domain.

               b. Predominantly displaying the official insignias of the Federal Agencies, using

                     a “.gov” domain, and displaying other information to create the affirmative and

                     false misrepresentation to consumers that the recreation.gov website and App

                     charge the Junk Fees on behalf of the Federal Agencies.

               c. Predominantly displaying the official insignias of the Federal Agencies, using

                     a “.gov” domain, and displaying other information to create the affirmative and

                     false representation to consumers that Junk Fees paid through the

                     recreation.gov website and App are paid to the Federal Agencies, and not Booz

                     Allen.

               d. Intentionally omitting references to Booz Allen from the recreation.gov website

                     and App, including by omitting references to Booz Allen on the recreation.gov

                     homepage, the “About Us” page, the Terms of Service, the Privacy Policy,

                     among other places.




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            e. To the extent Booz Allen’s involvement is disclosed to consumers, that hidden

                disclosure affirmatively misstates that Booz Allen operates recreation.gov as a

                “public service,” when in fact, Booz Allen operates recreation.gov and the App

                for its own profit and at the expense of the public good.

            f. Sending marketing emails and making other affirmative misrepresentations to

                consumers about the prices of services on recreation.gov and the App that do

                not include the Junk Fess.

            g. Not disclosing the existence of Junk Fees until the time of checkout, if at all.

            h. Failing to disclose that the Junk Fees are paid to Booz Allen.

            i. Failing to disclose that the Junk Fees violate the FLREA.

            j. Failing to disclose that the lottery Junk Fees violate state and federal anti-lottery

                and anti-gambling laws.

            k. Failing to disclose that recreation.gov and the recreation.gov App are operated

                by a for profit federal contractor, for that contractor’s profit, instead of for the

                benefit of the public and/or the Federal Agencies.

            l. Failing to disclose that Booz Allen has complete control over the amount of the

                Junk Fees charged to consumers.

            m. Representing that the Junk Fees are lawful and valid fees.

            n. Restricting access to federal lands unless the unlawful Junk Fees are paid to

                Booz Allen.

            o. Representing to the Military, Veterans, and the Disabled that they cannot access

                National Parks (and other federal lands) without paying Junk Fees, in violation

                of the FLREA.




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               p. Charging Junk Fees that are not in any way proportional to the costs of

                   providing the recreation.gov and App services or the value of those services.

       352.    As a result, Plaintiffs Streeter, Oliver, and Jones, the California Class, and the

general public are entitled to injunctive and equitable relief, restitution, and an order for the

disgorgement of the funds by which Defendants were unjustly enriched.

       353.    Plaintiffs Streeter, Oliver, and Jones and the California Class further seek their

attorneys’ fees and costs pursuant to California Code of Civil Procedure Section 1021.5 because

Plaintiffs and the California Class seek to enforce “an important right affecting the public interest”

in bringing this cause of action.

   X. Tenth Cause of Action, Unlawful Violation of Florida’s Deceptive and Unfair Trade
      Practices Act, Fla. Stat. §§ 501.201 et seq., on Behalf of the Florida Class.

       354.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       355.    The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”). Fla. Stat. §§

501.201 et seq., “prohibits unfair methods of competition, unconscionable acts or practices, and

unfair or deceptive acts or practices in the conduct of any trade or commerce are hereby declared

unlawful.” Id. at § 501.204.

       356.    An unfair practice that violates “any law, statute, rule, regulation, or ordinance”

constitutes a per se violation of FDUTPA. See id. at § 501.203(3)(c).

       357.    Defendants’ practices of charging Junk Fees violate FDUTPA because, among

other things, those Junk Fees violate:

               a. The FLREA, which prohibits the charging of “recreation fees,” except in

                   specific circumstances, which Defendants have not and cannot satisfy;




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               b. Section 16 U.S.C. § 6804(b)(2)-(3) of the FLREA, which entitles the Military,

                   Veterans, and the Disabled to free National Park (and other federal land) access;

               c. 18 U.S.C. §§ 1301, et seq., which prohibits the promotion and advertisement of

                   lotteries in interstate commerce; and

               d. Fla. Stat. § 849.09, which makes it unlawful “[s]et up, promote, or conduct any

                   lottery for money or for anything of value.”

       358.    Plaintiff Loginova and the Florida Class suffered actual damages and lost money

or property as a direct and proximate result of Defendants’ violations of FDUTPA, and will

continue to suffer a loss money or property in the future of Defendants’ practices are not enjoined.

       359.    Plaintiff Loginova and the Florida Class are “consumers” and “persons” within the

meaning of FDUTPA.

       360.    Defendants advertised, offered, or sold goods or services in Florida and engaged in

commerce affecting Florida residents, including Plaintiff Loginova and the Florida Class.

       361.    Plaintiff Loginova and the Florida Class seek all monetary and equitable relief

allowed by law, including actual or nominal damages under Fla. Stat. § 501.211, declaratory and

injunctive relief, attorneys’ fees and costs pursuant to Fla. Stat. § 501.2105(1), and any other relief

that the Court deems to be just and proper under FDUTPA.

  XI. Eleventh Cause of Action, Unfair and Deceptive Violation of Florida’s Deceptive and
      Unfair Trade Practices Act, Fla. Stat. §§ 501.201 et seq., on Behalf of the Florida
      Class.

       362.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       363.    FDUPTA “prohibits unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce are

hereby declared unlawful.” Fla. Stat. § 501.204.


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       364.    Defendants engaged in unconscionable acts or practices and in unfair or deceptive

acts or practices in the conduct of its business and operation of recreation.gov and the App.

       365.    Specifically, as alleged in this Complaint, Defendants’ unfair, unconscionable,

deceptive acts and practices, omissions, and/or affirmative misstatements include, but are not

limited to, the following:

               a. Operating the recreation.gov website and App to create the appearance that they

                   are run by the Federal Agencies, and not Booz Allen, including by displaying

                   the official insignias of the Federal Agencies and using a “.gov” domain.

               b. Predominantly displaying the official insignias of the Federal Agencies, using

                   a “.gov” domain, and displaying other information to create the affirmative and

                   false misrepresentation to consumers that the recreation.gov website and App

                   charge the Junk Fees on behalf of the Federal Agencies.

               c. Predominantly displaying the official insignias of the Federal Agencies, using

                   a “.gov” domain, and displaying other information to create the affirmative and

                   false representation to consumers that Junk Fees paid through the

                   recreation.gov website and App are paid to the Federal Agencies, and not Booz

                   Allen.

               d. Intentionally omitting references to Booz Allen from the recreation.gov website

                   and App, including by omitting references to Booz Allen on the recreation.gov

                   homepage, the “About Us” page, the Terms of Service, the Privacy Policy,

                   among other places.

               e. To the extent Booz Allen’s involvement is disclosed to consumers, that hidden

                   disclosure affirmatively misstates that Booz Allen operates recreation.gov as a




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                “public service,” when in fact, Booz Allen operates recreation.gov and the App

                for its own profit and at the expense of the public good.

            f. Sending marketing emails and making other affirmative misrepresentations to

                consumers about the prices of services on recreation.gov and the App that do

                not include the Junk Fess.

            g. Not disclosing the existence of Junk Fees until the time of checkout, if at all.

            h. Failing to disclose that the Junk Fees are paid to Booz Allen.

            i. Failing to disclose that the Junk Fees violate the FLREA.

            j. Failing to disclose that the lottery Junk Fees violate state and federal anti-lottery

                and anti-gambling laws.

            k. Failing to disclose that recreation.gov and the recreation.gov App are operated

                by a for profit federal contractor, for that contractor’s profit, instead of for the

                benefit of the public and/or the Federal Agencies.

            l. Failing to disclose that Booz Allen has complete control over the amount of the

                Junk Fees charged to consumers.

            m. Representing that the Junk Fees are lawful and valid fees.

            n. Restricting access to federal lands unless the unlawful Junk Fees are paid to

                Booz Allen.

            o. Representing to the Military, Veterans, and the Disabled that they cannot access

                National Parks (and other federal lands) without paying Junk Fees, in violation

                of the FLREA.

            p. Charging Junk Fees that are not in any way proportional to the costs of

                providing the recreation.gov and App services or the value of those services.




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       366.    Defendants’ statements, misrepresentations, and omissions were material because

they were reasonably likely to deceive reasonable consumers, and in fact did cause such deception.

       367.    Plaintiff Loginova and the Florida Class acted reasonably in relying on the

statements, misrepresentations, and omissions of Defendants and could not reasonably have

uncovered the falsity of those statements, misrepresentations, and omissions.

       368.    Plaintiff Loginova and the Florida Class suffered actual damages and lost money

or property as a direct and proximate result of Defendants’ violations of FDUTPA, and will

continue to suffer losses in the future if Defendants’ practices are not enjoined.

       369.    Plaintiff Loginova and the Florida Class are “consumers” and “persons” within the

meaning of FDUPTA.

       370.    Defendants advertised, offered, or sold goods or services in Florida and engaged in

commerce affecting Florida residents, including Plaintiff Loginova and the Florida Class.

       371.    Plaintiff Loginova and the Florida Class seek all monetary and equitable relief

allowed by law, including actual or nominal damages under Fla. Stat. § 501.211, declaratory and

injunctive relief, attorneys’ fees and costs pursuant to Fla. Stat. § 501.2105(1), and any other relief

that the Court deems to be just and proper under FDUTPA.

 XII. Twelfth Cause of Action, Unlawful Violation of New York General Business Law §
      349, on Behalf of the New York Class.

       372.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       373.    Pursuant to New York General Business Law, Section 349 (“GBL 349”),

“[d]eceptive acts or practices in the conduct of any business, trade or commerce or in the furnishing

of any service in this state are hereby declared unlawful.”




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       374.    GBL 349 further provides that “any person who has been injured by reason of any

violation of this section may bring an action in his own name to enjoin such unlawful act or

practice, an action to recover his actual damages or fifty dollars, whichever is greater, or both such

actions.”

       375.    Additionally, GBL 349 goes on to state that “[t]he court may, in its discretion,

increase the award of damages to an amount not to exceed three times the actual damages up to

one thousand dollars, if the court finds the defendant willfully or knowingly violated this section.

The court may award reasonable attorney’s fees to a prevailing plaintiff.”

       376.    Plaintiffs contend that when the charging of a fee is unlawful, but is represented to

consumers as being valid and proper, the charging of that fee is per se “deceptive” within the

meaning of GBL 349. See 349(g) (“[t]his section shall apply to all deceptive acts or practices

declared to be unlawful, whether or not subject to any other law of this state”).

       377.    Defendants’ practices of charging Junk Fees violate GBL 349 because, among other

things, those Junk Fees violate:

               a. The FLREA, which prohibits the charging of “recreation fees,” except in

                   specific circumstances, which Defendants have not and cannot satisfy;

               b. Section 16 U.S.C. § 6804(b)(2)-(3) of the FLREA, which entitles the Military,

                   Veterans, and the Disabled to free National Park (and other federal land) access;

               c. 18 U.S.C. §§ 1301, et seq., which prohibits the promotion and advertisement of

                   lotteries in interstate commerce; and

               d. N.Y. Penal Law § 225.00, et seq., which, among other things, prohibits the

                   promotion of gambling in New York.




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          378.   Plaintiff Berger and the New York Class are persons within the meaning of GBL

349(h).

          379.   Defendants are a person, firm, corporation, or association within the meaning of

GBL 349(b).

          380.   These deceptive acts and practices were consumer-oriented, and reasonable

consumers would be—and in fact were—misled by these deceptive acts and practices.

          381.   These deceptive acts and practices as to Mr. Berger and the New York Class

occurred in New York.

          382.   The above described deceptive acts and practices by Defendants were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to consumers that

these consumers could not reasonably avoid; this substantial injury outweighed any benefits to

consumers or to competition.

          383.   Further, Defendants’ conduct was substantially injurious to Plaintiff Berger and

members of the New York Class in that they were deceptively forced to pay Junk Fees.

          384.   Defendants’ actions in engaging in the above-named deceptive acts and practices

were negligent, knowing, willful, and/or wanton and reckless with respect to the rights of members

of the New York Class.

          385.   As a result of Defendants’ violations of the GBL 349, Mr. Berger and members of

the New York Class have paid and will continue to pay deceptive Junk Fees. Accordingly, they

have suffered and will continue to suffer actual damages.

          386.   Plaintiff Berger and the New York Class were injured as a direct and proximate

result of Defendants’ deceptive acts and practices, causing them to pay the unlawful Junk Fees.




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          387.   Accordingly, Plaintiff Berger and New York Class are entitled to relief under GBL

349(h), including, but not limited to, actual damages, treble damages, statutory damages,

injunctive relief, and/or attorney’s fees and costs.

XIII. Thirteenth Cause of Action, Deceptive Violation of New York General Business Law
      § 349, on Behalf of the New York Class.

          388.   Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

          389.   Pursuant to GBL 349, “[d]eceptive acts or practices in the conduct of any business,

trade or commerce or in the furnishing of any service in this state are hereby declared unlawful.”

          390.   GBL 349 further provides that “any person who has been injured by reason of any

violation of this section may bring an action in his own name to enjoin such unlawful act or

practice, an action to recover his actual damages or fifty dollars, whichever is greater, or both such

actions.”

          391.   Additionally, “[t]he court may, in its discretion, increase the award of damages to

an amount not to exceed three times the actual damages up to one thousand dollars, if the court

finds the defendant willfully or knowingly violated this section. The court may award reasonable

attorney’s fees to a prevailing plaintiff.” Id.

          392.   Plaintiff Berger and the New York Class are persons within the meaning GBL

349(h).

          393.   Defendants are a person, firm, corporation, or association within the meaning of

GBL 349(b).

          394.   Defendants engaged in deceptive acts and practices in the conduct of business,

trade, and commerce by, among other things, making false statements and omitting truthful




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information about Booz Allen’s operation of recreation.gov, including by charging deceptive and

unlawful Junk Fees. See N.Y. Gen. Bus. § 349(a), (h).

       395.    Specifically, as alleged in this Complaint, Defendants’ deceptive acts and practices

include, but are not limited to, the following:

               a. Operating the recreation.gov website and App to create the appearance that they

                   are run by the Federal Agencies, and not Booz Allen, including by displaying

                   the official insignias of the Federal Agencies and using a “.gov” domain.

               b. Predominantly displaying the official insignias of the Federal Agencies, using

                   a “.gov” domain, and displaying other information to create the affirmative and

                   false misrepresentation to consumers that the recreation.gov website and App

                   charge the Junk Fees on behalf of the Federal Agencies.

               c. Predominantly displaying the official insignias of the Federal Agencies, using

                   a “.gov” domain, and displaying other information to create the affirmative and

                   false representation to consumers that Junk Fees paid through the

                   recreation.gov website and App are paid to the Federal Agencies, and not Booz

                   Allen.

               d. Intentionally omitting references to Booz Allen from the recreation.gov website

                   and App, including by omitting references to Booz Allen on the recreation.gov

                   homepage, the “About Us” page, the Terms of Service, the Privacy Policy,

                   among other places.

               e. To the extent Booz Allen’s involvement is disclosed to consumers, that hidden

                   disclosure affirmatively misstates that Booz Allen operates recreation.gov as a




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                “public service,” when in fact, Booz Allen operates recreation.gov and the App

                for its own profit and at the expense of the public good.

            f. Sending marketing emails and making other affirmative misrepresentations to

                consumers about the prices of services on recreation.gov and the App that do

                not include the Junk Fess.

            g. Not disclosing the existence of Junk Fees until the time of checkout, if at all.

            h. Failing to disclose that the Junk Fees are paid to Booz Allen.

            i. Failing to disclose that the Junk Fees violate the FLREA.

            j. Failing to disclose that the lottery Junk Fees violate state and federal anti-lottery

                and anti-gambling laws.

            k. Failing to disclose that recreation.gov and the recreation.gov App are operated

                by a for profit federal contractor, for that contractor’s profit, instead of for the

                benefit of the public and/or the Federal Agencies.

            l. Failing to disclose that Booz Allen has complete control over the amount of the

                Junk Fees charged to consumers.

            m. Representing that the Junk Fees are lawful and valid fees.

            n. Restricting access to federal lands unless the unlawful Junk Fees are paid to

                Booz Allen.

            o. Representing to the Military, Veterans, and the Disabled that they cannot access

                National Parks (and other federal lands) without paying Junk Fees, in violation

                of the FLREA.

            p. Charging Junk Fees that are not in any way proportional to the costs of

                providing the recreation.gov and App services or the value of those services.




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       396.    These deceptive acts and practices were consumer-oriented, and reasonable

consumers would be—and in fact were—misled by these deceptive acts and practices.

       397.    Plaintiff Berger and the New York Class were injured as a direct and proximate

result of Defendants’ deceptive acts and practices, causing them to pay the unlawful Junk Fees.

       398.    These deceptive acts and practices as to Mr. Berger and the New York Class

occurred in New York.

       399.    The above-described deceptive acts and practices by Defendants were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to consumers that

these consumers could not reasonably avoid; this substantial injury outweighed any benefits to

consumers or to competition.

       400.    Further, Defendants’ conduct was substantially injurious to Plaintiff Berger and

members of the New York Class in that they were deceptively forced to pay Junk Fees.

       401.    Defendants’ actions in engaging in the above-named deceptive acts and practices

were negligent, knowing, willful, and/or wanton and reckless with respect to the rights of members

of the New York Class.

       402.    As a result of Defendants’ violations of the GBL 349, Mr. Berger and members of

the New York Class have paid and will continue to pay deceptive Junk Fees. Accordingly, they

have suffered and will continue to suffer actual damages.

       403.    Accordingly, Plaintiff Berger and New York Class are entitled to relief under GBL

349(h), including, but not limited to, actual damages, treble damages, statutory damages,

injunctive relief, and/or attorney’s fees and costs.




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 XIV. Fourteenth Cause of Action, Violation of New York General Business Law § 350 et
      seq., on Behalf of the New York Class.

          404.   Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

          405.   N.Y. Gen. Bus. Law § 350, et seq., (“GBL 350”) provides that “[f]alse advertising

in the conduct of any business, trade or commerce or in the furnishing of any service in this state

is hereby declared unlawful.”

          406.   GBL 350(e) further provides that “[a]ny person who has been injured by reason of

any violation of [GBL 350] may bring an action in his or her own name to enjoin such unlawful

act or practice, an action to recover his or her actual damages or five hundred dollars, whichever

is greater, or both such actions.”

          407.   Additionally, “the court may, in its discretion, increase the award of damages to an

amount not to exceed three times the actual damages, up to ten thousand dollars, if the court finds

that the defendant willfully or knowingly violated this section. The court may award reasonable

attorney’s fees to a prevailing plaintiff.” Id.

          408.   Plaintiff Berger and the New York Class are persons within the meaning of GBL

350(e).

          409.   Defendants engaged false advertising in the conduct of business, trade and

commerce, and in the furnishing of services by, among other things, making false statements and

omitting truthful information about Booz Allen’s operation of recreation.gov, including by

charging deceptive and unlawful Junk Fees and sending deceptive marketing emails to consumers.




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          410.   Specifically, as alleged in this Complaint, Defendants engaged in false advertising

in the conduct of business, trade and commerce, and in the furnishing of services by, among other

things:

                 a. Operating the recreation.gov website and App to create the appearance that they

                    are run by the Federal Agencies, and not Booz Allen, including by displaying

                    the official insignias of the Federal Agencies and using a “.gov” domain.

                 b. Predominantly displaying the official insignias of the Federal Agencies, using

                    a “.gov” domain, and displaying other information to create the affirmative and

                    false misrepresentation to consumers that the recreation.gov website and App

                    charge the Junk Fees on behalf of the Federal Agencies.

                 c. Predominantly displaying the official insignias of the Federal Agencies, using

                    a “.gov” domain, and displaying other information to create the affirmative and

                    false representation to consumers that Junk Fees paid through the

                    recreation.gov website and App are paid to the Federal Agencies, and not Booz

                    Allen.

                 d. Intentionally omitting references to Booz Allen from the recreation.gov website

                    and App, including by omitting references to Booz Allen on the recreation.gov

                    homepage, the “About Us” page, the Terms of Service, the Privacy Policy,

                    among other places.

                 e. To the extent Booz Allen’s involvement is disclosed to consumers, that hidden

                    disclosure affirmatively misstates that Booz Allen operates recreation.gov as a

                    “public service,” when in fact, Booz Allen operates recreation.gov and the App

                    for its own profit and at the expense of the public good.




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              f. Sending marketing emails and making other affirmative misrepresentations to

                  consumers about the prices of services on recreation.gov and the App that do

                  not include the Junk Fess.

              g. Not disclosing the existence of Junk Fees until the time of checkout, if at all.

              h. Failing to disclose that the Junk Fees are paid to Booz Allen.

              i. Failing to disclose that the Junk Fees violate the FLREA.

              j. Failing to disclose that the lottery Junk Fees violate state and federal anti-lottery

                  and anti-gambling laws.

              k. Failing to disclose that recreation.gov and the recreation.gov App are operated

                  by a for profit federal contractor, for that contractor’s profit, instead of for the

                  benefit of the public and/or the Federal Agencies.

              l. Failing to disclose that Booz Allen has complete control over the amount of the

                  Junk Fees charged to consumers.

              m. Representing that the Junk Fees are lawful and valid fees.

              n. Restricting access to federal lands unless the unlawful Junk Fees are paid to

                  Booz Allen.

              o. Representing to the Military, Veterans, and the Disabled that they cannot access

                  National Parks (and other federal lands) without paying Junk Fees, in violation

                  of the FLREA.

              p. Charging Junk Fees that are not in any way proportional to the costs of

                  providing the recreation.gov and App services or the value of those services.

       411.   These false advertising statements were consumer-oriented, and reasonable

consumers would be—and in fact were—misled by these deceptive acts and practices.




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        412.   Plaintiff Berger and the New York Class were injured as a direct and proximate

result of Defendants’ false advertising, causing them to pay the unlawful Junk Fees.

        413.   The false advertising as to Mr. Berger and the New York Class occurred in New

York.

        414.   The false advertising by Defendants is immoral, unethical, oppressive, and

unscrupulous. These acts cause substantial injury to consumers that these consumers could not

reasonably avoid; this substantial injury outweighs any benefits to consumers or to competition.

        415.   Further, Defendants’ false advertising was substantially injurious to Plaintiff

Berger and members of the New York Class in that they were deceptively forced to pay Junk Fees.

        416.   Defendants’ actions in engaging in the above-named false advertising acts were

negligent, knowing, willful, and/or wanton and reckless with respect to the rights of members of

the New York Class.

        417.   As a result of Defendants’ violations of the GBL 350, Mr. Berger and members of

the New York Class have paid and will continue to pay deceptive Junk Fees. Accordingly, they

have suffered and will continue to suffer actual damages.

        418.   Accordingly, Plaintiff Berger and New York Class are entitled to relief under GBL

350, including, but not limited to, actual damages, treble damages, statutory damages, injunctive

relief, and/or attorney’s fees and costs.

 XV. Fifteenth Cause of Action, Unlawful Violation of the Utah Consumer Sales Practice
     Act, Utah Code §§ 13-11-1 et seq., on Behalf of the Utah Class.

        419.   Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.




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        420.   The Utah Consumer Sales Practice Act, Utah Code §§ 13-11-1, et seq. prohibits

“deceptive act[s] or practice[s] . . . in connection with a consumer transaction.” Id. at 113-11-

4(1).

        421.   Plaintiff Lauritzen, and the Utah Class are “persons” who participated in a

“consumer transaction” within the meaning on Utah Consumer Sales Practice Act.

        422.   Defendants are “suppliers” who participated in a “consumer transaction” within the

meaning of the Utah Consumer Sales Practice Act.

        423.   Plaintiffs contend that under the Utah Consumer Sales Practice Act, a practice is

per se “deceptive” if it is unlawful but nonetheless held out by Defendants as being valid.

        424.   Accordingly, Defendants’ practices of charging Junk Fees violate the Utah

Consumer Sales Practice Act because, among other things, those Junk Fees violate:

               a. The FLREA, which prohibits the charging of “recreation fees,” except in

                   specific circumstances, which Defendants have not and cannot satisfy;

               b. Section 16 U.S.C. § 6804(b)(2)-(3) of the FLREA, which entitles the Military,

                   Veterans, and the Disabled to free National Park (and other federal land) access;

               c. 18 U.S.C. §§ 1301, et seq., which prohibits the promotion and advertisement of

                   lotteries in interstate commerce; and

               d. Utah Code § 76-10-1101, et seq., which, among other things, prohibits the

                   operation of lotteries, including internet lotteries, in Utah.

        425.   Plaintiff Lauritzen and the Utah Class were injured as a direct and proximate result

of Defendants’ deceptive acts and practices, which caused them to pay the unlawful Junk Fees.

        426.   Defendants’ violations present a continuing risk to Plaintiff Lauritzen and the Utah

Class, as well as to the general public.




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       427.    Pursuant to the Utah Consumer Sales Practice Act, Plaintiff Lauritzen and the Utah

Class seek an order enjoining Defendants’ unfair or deceptive acts or practices, awarding damages,

and awarding them their attorneys’ fees and cost, as well as any other relief the Court deems just

and proper under the Utah Consumer Sales Practice Act.

 XVI. Sixteenth Cause of Action, Deceptive Violation of the Utah Consumer Sales Practice
      Act, Utah Code §§ 13-11-1 et seq., on Behalf of the Utah Class.

       428.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       429.    The Utah Consumer Sales Practice Act, Utah Code §§ 13-11-1A, et seq. prohibits

“deceptive act[s] or practice[s] . . . in connection with a consumer transaction.”

       430.    Plaintiff Lauritzen, and the Utah Class are “persons” who participated in a

“consumer transaction” within the meaning on Utah Consumer Sales Practice Act.

       431.    Defendants are “suppliers” who participated in a “consumer transaction” within the

meaning of the Utah Consumer Sales Practice Act.

       432.    As alleged in this Complaint, Defendants engaged in deceptive acts and practices

in the course of making consumer transactions by, among other things, making false statements

and omitting truthful information about Booz Allen’s operation of recreation.gov.

       433.    Specifically, as alleged in this Complaint, Defendants’ deceptive acts and practices

include, but are not limited to, the following:

               a. Operating the recreation.gov website and App to create the appearance that they

                   are run by the Federal Agencies, and not Booz Allen, including by displaying

                   the official insignias of the Federal Agencies and using a “.gov” domain.

               b. Predominantly displaying the official insignias of the Federal Agencies, using

                   a “.gov” domain, and displaying other information to create the affirmative and



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                false misrepresentation to consumers that the recreation.gov website and App

                charge the Junk Fees on behalf of the Federal Agencies.

            c. Predominantly displaying the official insignias of the Federal Agencies, using

                a “.gov” domain, and displaying other information to create the affirmative and

                false representation to consumers that Junk Fees paid through the

                recreation.gov website and App are paid to the Federal Agencies, and not Booz

                Allen.

            d. Intentionally omitting references to Booz Allen from the recreation.gov website

                and App, including by omitting references to Booz Allen on the recreation.gov

                homepage, the “About Us” page, the Terms of Service, the Privacy Policy,

                among other places.

            e. To the extent Booz Allen’s involvement is disclosed to consumers, that hidden

                disclosure affirmatively misstates that Booz Allen operates recreation.gov as a

                “public service,” when in fact, Booz Allen operates recreation.gov and the App

                for its own profit and at the expense of the public good.

            f. Sending marketing emails and making other affirmative misrepresentations to

                consumers about the prices of services on recreation.gov and the App that do

                not include the Junk Fess.

            g. Not disclosing the existence of Junk Fees until the time of checkout, if at all.

            h. Failing to disclose that the Junk Fees are paid to Booz Allen.

            i. Failing to disclose that the Junk Fees violate the FLREA.

            j. Failing to disclose that the lottery Junk Fees violate state and federal anti-lottery

                and anti-gambling laws.




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               k. Failing to disclose that recreation.gov and the recreation.gov App are operated

                   by a for profit federal contractor, for that contractor’s profit, instead of for the

                   benefit of the public and/or the Federal Agencies.

               l. Failing to disclose that Booz Allen has complete control over the amount of the

                   Junk Fees charged to consumers.

               m. Representing that the Junk Fees are lawful and valid fees.

               n. Restricting access to federal lands unless the unlawful Junk Fees are paid to

                   Booz Allen.

               o. Representing to the Military, Veterans, and the Disabled that they cannot access

                   National Parks (and other federal lands) without paying Junk Fees, in violation

                   of the FLREA.

               p. Charging Junk Fees that are not in any way proportional to the costs of

                   providing the recreation.gov and App services or the value of those services.

       434.    Plaintiff Lauritzen and the Utah Class were injured as a direct and proximate result

of Defendants’ deceptive acts and practices, which caused them to pay the unlawful Junk Fees.

       435.    Defendants’ violations present a continuing risk to Plaintiff Lauritzen and the Utah

Class, as well as to the general public.

       436.    Pursuant to the Utah Consumer Sales Practice Act, Plaintiff Lauritzen and the Utah

Class seek an order enjoining Defendants’ unfair or deceptive acts or practices, awarding damages,

and awarding them their attorneys’ fees and cost, as well as any other relief the Court deems just

and proper under the Utah Consumer Sales Practice Act.




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XVII. Seventeenth Cause of Action, Unlawful Violation of Washington’s Unfair Acts and
      Practices in the Conduct of Trade or Commerce Act. Wash. Rev. Code §§ 19.86.020
      et seq.,, on Behalf of the Washington Class.

       437.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

through 276, inclusive, of this Complaint.

       438.    Washington’s Consumer Protection Act (“CPA”) prohibits any person from using

“unfair methods of competition or unfair or deceptive acts or practices in the conduct of any trade

or commerce.” RCW § 19.86.020.

       439.    Under the CPA, an unfair or deceptive act includes an act which is unlawful and

against public policy. RCW § 19.86.093.

       440.    Plaintiff Wilson, the Washington Class, and Defendants are “persons” within the

meaning of the CPA.

       441.    Defendants’ practices of charging Junk Fees are “unlawful” and against public

policy within the meaning of the CPA because, among other things, those Junk Fees violate:

               a. The FLREA, which prohibits the charging of “recreation fees,” except in

                   specific circumstances, which Defendants have not and cannot satisfy;

               b. Section 16 U.S.C. § 6804(b)(2)-(3) of the FLREA, which entitles the Military,

                   Veterans, and the Disabled to free National Park (and other federal land) access;

               c. 18 U.S.C. §§ 1301, et seq., which prohibits the promotion and advertisement of

                   lotteries in interstate commerce; and

               d. Wash. Rev. Code §§ 9.46.010, et seq., which “restrain[s] all persons from

                   seeking profit from professional gambling activities in this state.”

       442.    Plaintiff Wilson and the Washington Class were injured as a direct and proximate

result of Defendants’ unlawful deceptive acts and practices, which caused them to pay the unlawful

Junk Fees.


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        443.    Defendants’ violations present a continuing risk to Plaintiff Wilson and the

 Washington Class, as well as to the general public.

        444.    Plaintiffs Wilson and the Washington Class seek to recover actual damages and

 treble damages, together with the costs of suit, including reasonable attorneys’ fees, equitable and

 injunctive relief, and such other relief that is available under the CPA.

XVIII. Eighteenth Cause of Action, Unfair and Deceptive Violation of Washington’s Unfair
       Acts and Practices in the Conduct of Trade or Commerce Act. Wash. Rev. Code §§ et
       seq., 19.86.020, on Behalf of the Washington Class.

        445.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1

 through 276, inclusive, of this Complaint.

        446.    The CPA prohibits any person from using “unfair methods of competition and

 unfair or deceptive acts or practices in the conduct of any trade or commerce.” RCW § 19.86.020.

        447.    Plaintiff Wilson, the Washington Class, and Defendants are “persons” within the

 meaning of the CPA.

        448.    As alleged in this Complaint, Defendants engaged in unfair and deceptive acts and

 practices in the course of making a consumer transaction by, among other things, making false

 statements and omitting truthful information about Booz Allen’s operation of recreation.gov.

        449.    Specifically, as alleged in this Complaint, Defendants’ unfair and deceptive acts

 and practices include, but are not limited to, the following:

                a. Operating the recreation.gov website and App to create the appearance that they

                    are run by the Federal Agencies, and not Booz Allen, including by displaying

                    the official insignias of the Federal Agencies and using a “.gov” domain.

                b. Predominantly displaying the official insignias of the Federal Agencies, using

                    a “.gov” domain, and displaying other information to create the affirmative and




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                false misrepresentation to consumers that the recreation.gov website and App

                charge the Junk Fees on behalf of the Federal Agencies.

            c. Predominantly displaying the official insignias of the Federal Agencies, using

                a “.gov” domain, and displaying other information to create the affirmative and

                false representation to consumers that Junk Fees paid through the

                recreation.gov website and App are paid to the Federal Agencies, and not Booz

                Allen.

            d. Intentionally omitting references to Booz Allen from the recreation.gov website

                and App, including by omitting references to Booz Allen on the recreation.gov

                homepage, the “About Us” page, the Terms of Service, the Privacy Policy,

                among other places.

            e. To the extent Booz Allen’s involvement is disclosed to consumers, that hidden

                disclosure affirmatively misstates that Booz Allen operates recreation.gov as a

                “public service,” when in fact, Booz Allen operates recreation.gov and the App

                for its own profit and at the expense of the public good.

            f. Sending marketing emails and making other affirmative misrepresentations to

                consumers about the prices of services on recreation.gov and the App that do

                not include the Junk Fess.

            g. Not disclosing the existence of Junk Fees until the time of checkout, if at all.

            h. Failing to disclose that the Junk Fees are paid to Booz Allen.

            i. Failing to disclose that the Junk Fees violate the FLREA.

            j. Failing to disclose that the lottery Junk Fees violate state and federal anti-lottery

                and anti-gambling laws.




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                 k. Failing to disclose that recreation.gov and the recreation.gov App are operated

                     by a for profit federal contractor, for that contractor’s profit, instead of for the

                     benefit of the public and/or the Federal Agencies.

                 l. Failing to disclose that Booz Allen has complete control over the amount of the

                     Junk Fees charged to consumers.

                 m. Representing that the Junk Fees are lawful and valid fees.

                 n. Restricting access to federal lands unless the unlawful Junk Fees are paid to

                     Booz Allen.

                 o. Representing to the Military, Veterans, and the Disabled that they cannot access

                     National Parks (and other federal lands) without paying Junk Fees, in violation

                     of the FLREA.

                 p. Charging Junk Fees that are not in any way proportional to the costs of

                     providing the recreation.gov and App services or the value of those services.

         450.    Plaintiff Wilson and the Washington Class were injured as a direct and proximate

  result of Defendants’ unfair and deceptive acts and practices, which caused them to pay the

  unlawful Junk Fees.

         451.    Defendants’ violations present a continuing risk to Plaintiff Wilson and the

  Washington Class, as well as to the general public.

         452.    Plaintiff Wilson and the Washington Class seek to recover actual damages and

  treble damages, together with the costs of suit, including reasonable attorneys’ fees, equitable and

  injunctive relief, and such other relief that is available under the CPA.




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                                     PRAYER FOR RELIEF

         Plaintiffs, individually and on behalf of the members of the Classes, respectfully request

  the Court enter an Order:

         a.     Certifying the proposed Classes;

         b.     Declaring Defendants’ practices of charging Junk Fees to be unlawful;

         c.     Awarding Plaintiffs and the Classes actual damages;

         d.     Awarding Plaintiffs and the Classes compensatory damages;

         e.     Awarding Plaintiffs and the Classes statutory damages, where permitted by

  applicable law;

         f.     Awarding Plaintiffs and the Classes treble damages, where permitted by applicable

  law;

         g.     Awarding Plaintiffs and the Classes exemplary and/or punitive damages, where

  permitted by applicable law;

         h.     Awarding Plaintiffs and the Classes restitution of the amounts unlawfully taken

  from them by Defendants;

         i.     To the extent any contract was formed between Plaintiffs, the Classes, and

  Defendants, rescinding those contracts;

         j.     Disgorging Defendants of the amounts unlawfully taken from Plaintiffs and the

  Classes;

         k.     Awarding Plaintiffs and the Classes attorneys’ fees and costs;

         l.     Awarding Plaintiffs and the Classes pre- and post-judgment interest, as applicable;

         m.     Enjoining Defendants from continuing to charge Junk Fees;




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         n.      Ordering Defendants to provide truthful, accurate, and predominantly displayed

  disclosures to consumers to reflect that Booz Allen operates recreation.gov; and

         o.      All further relief as the Court deems just and proper.




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                                                 Counsel for Plaintiffs and the Putative Classes




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                                 DEMAND FOR TRIAL BY JURY

          Plaintiffs, on behalf of themselves and the putative classes, hereby respectfully demand a

  trial by jury on all claims.


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